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 11
 12                        UNITED STATES DISTRICT COURT
 13                       CENTRAL DISTRICT OF CALIFORNIA
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      ENTROPIC COMMUNICATIONS, LLC,                    Case No.: 2:23-cv-01043-JWH-KES
 15                                                    (Lead Case)
            Plaintiff,
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                                                       Case No. 2:23-cv-05253-JWH-KES
 17         v.                                         (Member Case)
 18   DISH NETWORK CORPORATION, et                     FIRST AMENDED COMPLAINT
      al.,                                             FOR PATENT INFRINGEMENT
 19
 20         Defendants.

 21
      ENTROPIC COMMUNICATIONS, LLC,
 22
 23         Plaintiff,
 24         v.
 25
      DIRECTV, LLC, et al.,
 26
 27         Defendants.
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  1         Plaintiff, Entropic Communications, LLC (“Entropic”), files this complaint for
  2   patent infringement against DIRECTV, LLC (“the DIRECTV defendants”) and
  3   AT&T Services, Inc. (the defendants are collectively referred to as “DIRECTV”),
  4   and in support thereof alleges as follows:
  5         1.     Around the turn of the millennium, cable and satellite providers were
  6   eager to deploy new and improved services, but they faced a big problem. The
  7   providers needed a high-speed data network inside buildings to deliver those services
  8   to various rooms. With existing technology, this meant installing new cabling inside
  9   each premises to carry the network. Aside from the costly materials themselves,
 10   technicians would be forced to spend hours planning the work, cutting and drilling
 11   into walls, and fishing cables throughout a building, all while doing so in ways
 12   customers might tolerate. The costs would run into the billions of dollars.
 13         2.     A group of inventors had a vision: what if they could repurpose the
 14   already-existing coaxial cables common in buildings to do the job? The challenges
 15   were daunting. Existing coaxial cabling was never intended to work this way. The
 16   mess of existing coax topologies in homes and businesses was a formidable barrier.
 17   The splitter devices used to distribute legacy TV obstructed signals from room-to-
 18   room. Making it all work would require nothing less than the invention of a new
 19   networking architecture founded upon a host of new technologies.
 20         3.     They    succeeded.    The       inventors’   company,   called   Entropic
 21   Communications Inc. (“Entropic Inc.”), made the technology work. The company
 22   was awarded a portfolio of patents for the advances that made it possible. And the
 23   company spearheaded forming a new industry standard for the architecture,
 24   commonly called Multimedia over Coax Alliance standards (the “MoCA” standards).
 25         4.     Today, MoCA is the backbone of data and entertainment services for
 26   tens of millions of customers. MoCA is widely used by every major provider in the
 27   industry, saving them billions of dollars in costs and avoiding the hassle of re-wiring
 28   for providers and customers alike. Unfortunately, the defendants take advantage of

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  1   MoCA without paying appropriate licensing fees for the technology. This lawsuit is
  2   about redressing that wrong.
  3         5.     This is a civil action arising under the patent laws of the United States,
  4   35 U.S.C. § 1 et seq., including specifically 35 U.S.C. § 271, based on the defendants’
  5   infringement of U.S. Patent Nos. 7,295,518 (the “’518 Patent”), 7,594,249 (the “’249
  6   Patent”) U.S. Patent Nos. 7,889,759 (the “’759 Patent”), 8,085,802 (the “’802
  7   Patent”) U.S. Patent Nos. 9,838,213 (the “’213 Patent”), 10,432,422 (the “’422
  8   Patent”) U.S. Patent Nos. 8,631,450 (the “’450 Patent”), 8,621,539 (the “’539
  9   Patent”) U.S. Patent No. 8,320,566 (the “’0,566 Patent”); U.S. Patent No. 10,257,566
 10   (the “’7,566 Patent”); U.S. Patent No. 8,228,910 (the “’910 Patent”); U.S. Patent No.
 11   8,363,681 (the “’681 Patent”) (collectively all of the patents are referred to herein as
 12   the “Patents-in-Suit” or “Asserted Patents”). These patents incorporate various
 13   elements of technology set forth in the MoCA standards.
 14                                      THE PARTIES
 15         6.     Entropic is a Delaware limited liability company with an office at 7150
 16   Preston Road, Suite 300, Plano, Texas 75024.
 17         7.     Entropic is the owner by assignment to all right, title, and interest to the
 18   Patents-in-Suit. Entropic is the successor-in-interest for the Patents-in-Suit.
 19         8.     The DIRECTV defendants have as their registered agent in California,
 20   CT Corporation System, 330 N. Brand Blvd., Suite 700, Glendale, California 91023.
 21         9.     AT&T Services, Inc. is a Delaware corporation with a place of business
 22   at 208 South Akard Street, Dallas, Texas 75202.
 23         10.    As further alleged herein, this Court has personal jurisdiction over
 24   DIRECTV, and venue is proper in this Judicial District.
 25       HISTORY OF TELEVISION NETWORKING TECHNOLOGY AND
 26               THE STATE OF THE ART AS OF THE EARLY 2000s
 27         11.    Cable television in the United States traces its origins back to the late
 28   1940s. At that time, the existing method for delivering TV signals was over-the-air

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  1   broadcast in which content was transmitted as radio waves from a TV station to TV
  2   antennas. However, homes in mountain valleys, such as in Eastern Pennsylvania, had
  3   poor reception of broadcast TV signals. To solve this problem, mountaintop antennas
  4   were used to receive the signals, and then cabling was installed to connect the homes
  5   to those mountaintop antennas. This method proved to be effective and reliable, and
  6   cable television took off in popularity in the decades that followed, expanding far
  7   beyond its original application and leaving the mountain valleys to become a
  8   ubiquitous feature of TV distribution nationwide.
  9         12.    At its core, a cable system centers around a “head-end,” a facility for
 10   distributing television signals to subscribers’ homes. These signals would be carried
 11   over coaxial cable or, more recently, a combination of fiber optic and coaxial cables,
 12   which allow for transmission over long distances with little signal loss or
 13   interference. Coaxial cables owned by the cable provider run to a point of entry at
 14   the user’s premises, where the cable provider’s coaxial network connects to the on-
 15   premises coaxial network; the signal from the cable provider are distributed
 16   throughout the premises via the on-premises coaxial network.
 17         13.    In the 1970s, satellite television was developed. A conventional setup
 18   for satellite service was “direct-to-home” distribution. With direct-to-home service,
 19   television signals are transmitted from an uplink facility to satellites, which transmit
 20   the signals to an outdoor unit installed on a home or multi-dwelling unit. The outdoor
 21   unit has a receiver and an antenna that focuses the satellite signals onto the receiver.
 22   The outdoor receiver in turn distributes the satellite signals to devices on the premises
 23   through, for instance, installed conventional coaxial cabling.
 24         14.    As of the early 2000s, coaxial cabling was connected to over 300 million
 25   television sets in the United States. At that time, coaxial cabling connections were
 26   the preferred in-on-premises video distribution medium for over 90 million cable and
 27   satellite homes in the United States.
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  1         15.    As of the early 2000s, and in the decades prior, many homes in the
  2   United States had multiple devices that received cable or satellite service over coaxial
  3   cabling.
  4         16.    In a home or building with multiple devices connected to coaxial
  5   cabling, it was standard to use splitters to distribute the signal received from outside
  6   the premises to the multiple on-premises devices, such as multiple TVs or digital
  7   video recorders, and to connect those devices back to the source.
  8         17.    Conventional splitters typically have a single input, also known as a
  9   common port. The splitter splits the input signal into multiple outputs, also known as
 10   tap ports. Coaxial cable extending from these ports could connect to devices in the
 11   home and/or to yet another splitter (or splitters) before the signal finally reached the
 12   devices.
 13         18.    As used herein, the terms “conventional coaxial network” or
 14   “conventional on-premises coaxial network” refers to the legacy coaxial cable
 15   installation that was used as of the early 2000s to distribute programming, such as
 16   television content, to consumer devices on premises, such as a home, office, or
 17   apartment building.
 18         19.    An exemplary architecture of a conventional coaxial network in the
 19   early 2000s is depicted below in an annotated version of Fig. 2 of the ’450 Patent.
 20   Here, programming from a provider’s network enters the premises at the point of
 21   entry. From the point of entry, coaxial cabling is used to connect each device to the
 22   provider’s network. These connections are made using a series of splitters to connect
 23   each device with the source of programming. In the exemplary architecture below,
 24   there are three devices connected to the provider’s network (Set-Top Boxes A, B,
 25   and C) through coaxial cabling and multiple splitters. For the connections on the
 26   splitters, input ports are marked in blue, with output ports marked in red:
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 19         20.    An architecture network similar to that shown in Paragraph 18 could
 20   also be used with satellite systems, with appropriate technical variations. Signals
 21   could be received by a point of entry to the premises and then distributed throughout
 22   the premises through coaxial cabling and a series of splitters.
 23         21.    The conventional coaxial network architecture was configured to
 24   support transmission from a source outside of the premises, such as a cable head-end,
 25   to devices on the premises, such as a set-top box. Thus, the splitters were configured
 26   to optimize transmission from the source to an endpoint.
 27         22.    Among other things, in a conventional coaxial network architecture,
 28   splitters were designed to isolate the output ports from one another. In other words,

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  1   the splitters were designed such that a signal being sent from the device towards the
  2   source of programming would not “couple” to the other output ports of the splitter.
  3   Rather, the splitters were designed to attenuate the passage of any signals between
  4   output ports. This was done to reduce interference in the communication channel
  5   between the source of programming and an individual device.
  6         23.    Although this configuration helped facilitate communication from a
  7   programming source to a user’s device, it impeded communication between devices.
  8   The conventional wisdom in the field as of the early 2000s, and for many years prior,
  9   was that the structure of conventional coaxial networks, including the isolation of
 10   end devices from each other, and the unknown and variable composition of the
 11   physical network, prevented devices on the same conventional coaxial network from
 12   communicating with one another across the output ports of the splitter.
 13         24.    As a consequence of the isolation of the output ports and the attenuation
 14   of signals crossing between them, it was not well-known or routine to transmit signals
 15   between different devices that were connected to the output ports of a conventional
 16   coaxial network.
 17         25.    In fact, in the conventional coaxial networks of the early 2000s, there
 18   was no mechanism, let alone a well-known one, for devices in a home or other
 19   premises to communicate with one another at all. Thus, while each consumer device
 20   in a home or premises could receive programming from a source outside of the home
 21   or premises, there existed no well-known path or method for them to communicate
 22   with one another.
 23         26.    Just as there was no well-known mechanism for end devices in the home
 24   to communicate with each other over conventional coaxial networks in the early
 25   2000s, there was also no well-known mechanism for those devices to locate one
 26   another or become aware of each other’s existence. For instance, there was no
 27   “discovery” or “admission” process that allowed devices within the home to admit a
 28   new device to such an environment. Thus, while each consumer device in a home or

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  1   building could establish a connection with a source of programming from outside the
  2   building, there existed no well-known method for those devices to do so with respect
  3   to one another.
  4         27.   An illustration of the capabilities of a conventional coaxial network as
  5   of the early 2000s is depicted below using the exemplary architecture shown in
  6   Paragraph 18. As shown below, a device connected to the conventional coaxial
  7   networks of the early 2000s (as an example, Set-Top Box A marked in blue) could
  8   communicate with the source of programming (also marked in blue). But that device
  9   would not communicate through the conventional coaxial network with any other
 10   device, such as Set-Top Boxes B or C, as indicated by the red X’s:
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  1         28.    On-premises networks used for satellite TV were similarly limited. A
  2   device connected to a satellite receiver via on-premises coaxial cabling could receive
  3   programming from a source, but would not communicate through a conventional
  4   coaxial network with other devices connected to that network.
  5         29.    Further, as noted above, the communication paths between different
  6   devices on a coaxial network have different characteristics. This could be due to, for
  7   instance, the number of splitters along the communication path, the attenuation
  8   characteristics of the splitter(s), the length or quality of the coaxial cable along the
  9   path, and so on.
 10         30.    Further still, the characteristics of the paths can differ between the
 11   upstream and downstream paths between the same two devices. This is because the
 12   channel paths are not necessarily symmetrical and instead may have different
 13   properties depending on the direction of signals sent between the devices. For
 14   instance, the types of splitters used in conventional coaxial installations altered the
 15   properties of signals being sent towards the end devices in a very different way than
 16   they did for signals being sent away from them.
 17         31.    For instance, in the illustration shown in Paragraph 27, the
 18   communication path from Set-Top Box A to Set-Top Box B (which has two splitters
 19   between them) could have different properties than the communication path from the
 20   Set-Top Box B to Set-Top Box C (which passes through only one splitter). So, too,
 21   could the characteristics of the path from Set-Top Box A to Set-Top Box B differ
 22   from the characteristics of the path from Set-Top Box B back to Set-Top Box A.
 23         32.    These differences in channel characteristics posed yet another
 24   technological barrier to communication between devices in a home over a coaxial
 25   network. In particular, these characteristics made it difficult to determine the
 26   appropriate modulation scheme or other parameters that would allow two or more
 27   devices connected to a conventional coaxial network to communicate with one
 28   another.

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  1         33.   Around this same time in the early 2000s, digital video recording
  2   (“DVR”) technology was introduced. This technology allowed devices to record
  3   television programming for later playback.
  4         34.   The introduction of DVR technology created demand for the ability to
  5   record content on one device and transmit it to another device in the same home.
  6         35.   As of the early 2000s, companies like Microsoft and Hewlett-Packard
  7   sold dedicated equipment that could stream content from an “Entertainment Center”
  8   to a “Media Extender” Within a home or building. But these options were cost-
  9   prohibitive for the vast majority of consumers. They also required a networking
 10   infrastructure that very few consumers had in their homes at the time, such as
 11   Ethernet cabling throughout the home or a high-speed wireless network that could
 12   handle video streaming.
 13         36.   In contrast, on-premises coaxial cabling had the benefit of being pre-
 14   installed in tens of millions of homes, but it did not support the transmission of
 15   content from one device to another.
 16         37.   The technological limitations of coaxial networks were understood as of
 17   the early 2000s to pose substantial barriers to meeting the demand for transmitting
 18   content between devices in a home. For instance, the limitations of coaxial networks
 19   in the early 2000s meant that video recorded on one device could not be streamed to
 20   another device in the same home even though both devices were connected to the
 21   same conventional coaxial network.
 22         38.   In sum, the conventional coaxial network of the early 2000s was built
 23   to facilitate “vertical” communication between the source of programming and a
 24   particular consumer device. But as a consequence, it was not configured for, and in
 25   many ways impeded or prevented, “horizontal” communication between devices
 26   connected to the conventional coaxial network in a consumer’s home.
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  1    ENTROPIC INC. IS FOUNDED TO OVERCOME THE LIMITATIONS OF
  2                      CONVENTIONAL COAXIAL NETWORKS
  3         39.    Entropic Inc., the predecessor-in-interest to Entropic as to the Patents-
  4   in-Suit, was founded in San Diego, California in 2001 by Dr. Anton Monk, Itzhak
  5   Gurantz, Ladd El Wardani, and others.
  6         40.    Entropic Inc. set out to solve the problems with conventional coaxial
  7   networks described in Paragraphs 11 through 38 above.
  8         41.    Entropic Inc. tackled the problem and managed what was considered
  9   technologically forbiddingly difficult, if not impossible: high-speed point-to-point
 10   digital communication using existing coaxial installations. This required substantial
 11   inventive effort that is embodied by the claimed inventions of the Patents-in-Suit.
 12         42.    Entropic Inc.’s innovations, as embodied in the claimed inventions of
 13   the Patents-in-Suit, transformed coaxial networking technology by allowing for an
 14   on-premises network to be established over existing on-premises coaxial cabling.
 15         43.    Among other applications, Entropic Inc.’s new technology allowed
 16   devices in the home to transmit content to one another over the existing coaxial
 17   cables.
 18         44.    Entropic Inc.’s innovations, as embodied in the claimed inventions of
 19   the Patents-in-Suit, allowed a new type of logical network to exist on a physical
 20   structure—the conventional coaxial network—that was not designed to allow such a
 21   logical network to exist.
 22         45.    Prior to Entropic Inc.’s innovations, the logical architecture of
 23   conventional coaxial networks was limited to a “top-down” model. This meant that
 24   a source of programming could transmit content to each of the individual devices
 25   connected to a conventional coaxial network, but the individual devices could not
 26   transmit content to one another. This limitation was a consequence of the
 27   technological limitations of the components of the coaxial network at the time, such
 28   as the characteristics of the splitters used.

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  1         46.    With Entropic Inc.’s innovations, as embodied in the claimed inventions
  2   of the Patents-in-Suit, an entirely new networking model became possible for
  3   communication over existing on-premises coaxial cabling. Now the conventional
  4   coaxial network could operate in a point-to-point or “mesh” fashion, creating new
  5   communication paths that did not exist before. The logical communication model
  6   thus enabled is illustrated below, using an example of a network that has four set-top
  7   boxes connected to a coaxial network (note that the arrows below represent logical
  8   connections between devices, rather than physical links; the underlying coaxial cable
  9   topology remains unchanged from the conventional installations discussed above):
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 24         47.    As explained in more detail below, each of the claimed inventions of the
 25   Patents-in-Suit contributed to this transformation in coaxial networking technology.
 26         48.    Over the years that followed, Entropic Inc. pioneered innovative
 27   networking technologies, as well as television and internet related technologies.
 28   These technologies simplified or eliminated the need for installation of new

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  1   equipment to support wideband reception of multiple channels for demodulation,
  2   improve internet performance, and enabled more efficient and responsive remote
  3   troubleshooting and signal management for cable providers. These innovations
  4   represented significant advances in the field, simplified the implementation of those
  5   advances, and reduced expenses for providers and customers alike.
  6         49.     Entropic Inc. received multiple awards, recognition, and praise for its
  7   early innovative work that transformed the types of communication that were
  8   possible over coaxial cable networks. These awards and recognition include:
  9               • In 2003, the “Breakthrough Innovation in Communications” Award
 10                 from the T Sector San Diego;
 11               • In   2004,   the   “Most   Innovative      New   Product”   Award    for
 12                 Telecommunications (17th Annual CONNECT Awards);
 13               • In 2004, the first annual “Innovator in Telecommunications” Award
 14                 from the San Diego Telecom Council;
 15               • In 2004, a finalist for the “Startup of the Year” Award from EDN
 16                 Magazine;
 17               • In 2005, a finalist for the “Innovation of the Year” Award from EDN
 18                 Magazine.
 19                      MOCA® AND THE MOCA® STANDARDS
 20         50.     At the same time Entropic Inc. was inventing a new networking
 21   architecture for coaxial networks, it also founded an organization to standardize the
 22   new networking architecture it had invented and to promote its use. This became
 23   known as the Multimedia over Coax Alliance, or “MoCA.”
 24         51.     MoCA is an alliance of companies that operate in the field of technology
 25   associated with providing multimedia services, such as television operators,
 26   consumer electronics manufacturers, semiconductor vendors, and original equipment
 27   manufacturers (OEMs). MoCA has developed and published a standard governing
 28   the operation of devices using existing coaxial cable.

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  1         52.    The MoCA acronym has also come into common usage as the name
  2   given to the networking architecture that Entropic Inc. had invented, now embodied
  3   in technical standards documents promulgated by MoCA.
  4         53.    The technology defined in the MoCA standards enables point-to-point
  5   high-quality network communication that met a long-felt need in the cable and
  6   satellite television industries. Crucially, it also provides the operators the ability to
  7   deploy cutting-edge services that require transmitting content between end devices
  8   without the enormously costly effort of installing Ethernet or similar cabling to carry
  9   the data.
 10         54.    Entropic Inc. was exclusively responsible for the development of the
 11   initial version of the MoCA standards, including MoCA 1.0, ratified in 2006.
 12         55.    The MoCA standards ensure network robustness along with inherent
 13   low packet error rate performance and very low latency that is relatively independent
 14   of network load. The logical network model of the MoCA network is significantly
 15   different from the underlying on-premises legacy coaxial network. For example, due
 16   to the effects of splitter jumping and reflections, the channel characteristics for a link
 17   between two MoCA nodes may be dramatically different from a link between any
 18   other two MoCA nodes.
 19         56.    The technological developments embodied in the MoCA standard
 20   enable users to avoid the significant costs associated with rewiring their home or
 21   business in order to allow high speed point-to-point to communication between
 22   devices throughout the premises. Further, these technological developments allow
 23   services requiring reliable, high-speed data and video communications between
 24   devices on a home network to be provided to the user while utilizing the on-premises
 25   coaxial cabling already present in the user’s home or business.
 26         57.    Entropic Inc. spearheaded MoCA, and its founders are the inventors of
 27   several patents—including each of the Patents-in-Suit—that cover various
 28   mandatory aspects of the MoCA standards.

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  1           58.      By conforming to the MoCA standards, a product necessarily practices
  2   those patents, either by itself, as a part of a MoCA-compliant system, or in the method
  3   in which it operates.
  4   ENTROPIC INC.’S EARLY INVENTIONS ARE DIRECTED TO SOLVING
  5            TECHNOLOGICAL PROBLEMS IN COAXIAL NETWORKS
  6           59.      Several of the Patents-in-Suit claim priority to dates between 2001 to
  7   2004. These include the ’518 Patent, the ’249 Patent, the ’759 Patent, the ’802 Patent,
  8   the ’539 Patent, and the ’450 Patent.
  9           60.      Each of these Patents-in-Suit, as described below, claims a
 10   technological solution to a problem arising in the context of enabling packet-based,
 11   point-to-point networking over installed coaxial cable infrastructure in homes or
 12   buildings, as of the early 2000s.
 13           61.      The technology claimed in each of these Patents-in-Suit solves specific
 14   technological problems inherent in transforming the topology of existing coaxial
 15   networks to enable point-to-point communication between devices in a customer’s
 16   home.
 17           62.      Each of these Patents-in-Suit claims activities that whether viewed alone
 18   or in combination were not routine or conventional in existing on-premises coaxial
 19   networks as of the date the patents were filed.
 20           63.      The ’518 Patent. Claim 1 of the ’518 Patent recites a data
 21   communication network comprising:
 22           at least two network devices, each network device comprising a multi-
 23                 carrier modulator for modulating data, an up converter for
 24                 translating the modulated data to an RF carrier frequency, a down
 25                 converter for translating an RF signal, and a multi-carrier
 26                 demodulator for demodulating the translated RF signal to produce
 27                 data; and
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  1          cable wiring comprising a splitter with a common port and a plurality
  2                of tap ports, and a plurality of segments of coaxial cable connecting
  3                between the splitter tap ports and the network devices;
  4          whereby network devices communicate with each other through the
  5                cable wiring using multi-carrier signaling;
  6          wherein network devices transmit probe messages through the cable
  7          wiring and analyze received probe message signals to determine
  8          channel characteristics and bit loading is selected based on the
  9          determined channel characteristics.
 10          64.       Claim 1 of the ’518 Patent is directed to enabling communication
 11   between devices that are connected to the tap (output) ports of a coaxial splitter. This
 12   type of communication has since been referred to as “splitter jumping” or “jumping
 13   the splitter.”
 14          65.       Claim 1 of the ’518 Patent recites a solution to the technological hurdles
 15   associated with “splitter jumping.”
 16          66.       Claim 1 of the ’518 Patent recites the use of probe messages to
 17   determine channel characteristics and bit loading for communication between
 18   network devices connected to a splitter. These recited activities improve the
 19   functionality of coaxial networking technology. In particular, these recited activities
 20   overcome the problems with conventional coaxial networks, where communication
 21   paths between devices were impeded by the isolation between splitter ports and the
 22   high variance in channel characteristics between those devices.
 23          67.       Prior to the invention of the ’518 Patent, communication between
 24   devices that are connected to the output ports of a coaxial splitter (splitter jumping)
 25   faced numerous technological hurdles, and was not routine, conventional, or well-
 26   known, as explained in Paragraphs 11 to 38 above.
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  1         68.    Prior to the invention of the ’518 Patent, splitter jumping in a coaxial
  2   network for the purpose of high bandwidth communications between devices in a
  3   home, such as streaming of video, was not routine, conventional, or well-known.
  4         69.    Prior to the invention of the ’518 Patent, it was not a routine,
  5   conventional, or well-known activity to determine the characteristics of the
  6   communication channels between devices in a home coaxial network.
  7         70.    The invention of the ’518 Patent enabled a new type of communication
  8   over coaxial networks that was not routine, conventional, or well-known. It achieved
  9   this innovation by improving the technology that had been installed in millions of
 10   homes across this United States for years, but which no one had previously been able
 11   to improve in the same way.
 12         71.    The element of “cable wiring comprising a splitter with a common port
 13   and a plurality of tap ports, and a plurality of segments of coaxial cable connecting
 14   between the splitter tap ports and the network devices” recites a particular
 15   technological environment, namely a coaxial network within a home with devices
 16   connected by a splitter.
 17         72.    As described in Paragraphs 11 to 38 above, the conventional coaxial
 18   network had unique technological limitations as of the priority date of the ’518 Patent
 19   that made horizontal communication between devices (splitter jumping) difficult and
 20   impractical. In particular, the isolation between output ports and attenuation of the
 21   signals crossing between them posed a technological barrier to this type of
 22   communication.
 23         73.    Claim 1 of the ’518 Patent recites multiple elements that were not
 24   routine or conventional activity in the particular technological environment of
 25   existing on-premises coaxial networks as of the priority date of the ’518 Patent.
 26         74.    The element of “whereby network devices communicate with each other
 27   through the cable wiring using multi-carrier signaling” recites a technological
 28   capability that was not routine or conventional as of the priority date of the ’518

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  1   Patent. As of that date, communication between network devices connected to the
  2   tap ports of a splitter in a coaxial network (splitter jumping) was not a routine or well-
  3   known activity for the reasons explained in Paragraphs 11 to 38 above.
  4         75.      The element of “wherein network devices transmit probe messages
  5   through the cable wiring and analyze received probe message signals to determine
  6   channel characteristics and bit loading is selected based on the determined channel
  7   characteristics” recites a technological capability that was not routine or conventional
  8   as of the priority date of the ’518 Patent for the reasons explained in Paragraphs 11
  9   to 38 above.
 10         76.      As of the priority date of the ’518 Patent, network devices connected to
 11   the tap ports of a splitter in a conventional coaxial network did not send or receive
 12   signals to one another. Sending signals of any kind between such devices was not a
 13   routine or well-known activity in this type of network for the reasons explained in
 14   Paragraphs 11 to 38 above.
 15         77.      As of the priority date of the ’518 Patent, network devices connected to
 16   the tap ports of a splitter did not send or receive probe messages to one another.
 17   Sending probe messages between devices connected to the tap ports of a splitter in a
 18   conventional coaxial network was not a routine or well-known activity as of that date
 19   for the reasons explained in Paragraphs 11 to 38 above.
 20         78.      As of the priority date of the ’518 Patent, network devices connected to
 21   the tap ports of a splitter in a conventional coaxial network did not determine the
 22   characteristics of the communication channel between them. Characterizing the
 23   communication channel between two devices in such a network was not a routine or
 24   well-known activity as of that date for the reasons explained in Paragraphs 11 to 38
 25   above.
 26         79.      As of the priority date of the ’518 Patent, it was not routine or
 27   conventional to combine (1) communicating between devices connected to the tap
 28   ports of a splitter in a coaxial network; (2) sending and receiving probe messages

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  1   between those devices using the coaxial network; and (3) determining the
  2   characteristics of the channel between them.
  3         80.    The ’249 Patent. Claim 10 of the ’249 Patent recites a broadband local
  4   area network for transmitting modulated signals using coaxial cable building wiring
  5   containing a plurality of branches comprising:
  6         a filter located at the point of entry of the building wiring that rejects
  7         network signals originating in the building wiring such that the rejected
  8         network signals do not pass through the filter, but rather are reflected
  9         by the filter back into all branches of the building wiring;
 10         at least one signal splitter;
 11         a plurality of terminal devices connected to the wiring branches, each
 12         terminal device capable of communicating with other terminal devices
 13         the reflected signal path created by the filter, wherein the terminal
 14         devices perform equalization on the received signal that restores a flat
 15         frequency response to overcome communication channel impairments
 16         caused by the reflected signals.
 17         81.    Claim 10 of the ’249 Patent is directed to enabling communication
 18   between devices that are connected to a broadband local area network using coaxial
 19   cabling.
 20         82.    Claim 10 of the ’249 Patent recites a solution to the technological
 21   hurdles associated with “splitter jumping.” Claim 10 of the ’249 Patent recites the
 22   use of a filter at the point of entry to a building as part of a coaxial network that
 23   includes a splitter. Claim 10 of the ’249 Patent further recites communication
 24   between devices within the building using a reflected signal path created by the filter
 25   and using equalization to overcome communication channel impairments caused by
 26   the reflected signals.
 27         83.    These recited activities improve the functionality of conventional
 28   coaxial networking technology. In particular, these recited activities overcome the

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  1   problems with conventional coaxial networks, where communication paths between
  2   devices were impeded by the isolation between splitter ports and the high variance in
  3   channel characteristics between those devices.
  4         84.    Prior to the invention of the ’249 Patent, it was not routine,
  5   conventional, or well-known in conventional coaxial networks to use a filter that
  6   rejects signals and reflects them, building back into the branches of the building
  7   wiring.
  8         85.    Prior to the invention of the ’249 Patent, communication between
  9   devices using a reflected signal path in a conventional coaxial network was not
 10   routine, conventional, or well-known.
 11         86.    Prior to the invention of the ’249 Patent, communication between
 12   devices in a conventional coaxial network that includes a signal splitter was not
 13   routine, conventional, or well-known.
 14         87.    Prior to the invention of the ’249 Patent, performing equalization on a
 15   received signal to overcome channel impairments caused by reflected signals in a
 16   conventional coaxial network was not routine, conventional, or well-known.
 17         88.    The element of “a plurality of terminal devices connected to the wiring
 18   branches, each terminal device capable of communicating with other terminal
 19   devices the reflected signal path created by the filter” recites a technological
 20   capability that was not routine or conventional as of the priority date of the ’249
 21   Patent for the reasons explained in Paragraphs 11 to 38 above.
 22         89.    As of the priority date of the ’249 Patent, it was not routine or
 23   conventional to combine (1) a filter located at the point of entry of a building to reflect
 24   signals back through all branches of coaxial wiring; (2) a signal splitter; (3) a plurality
 25   of terminal devices connected to the wiring branches that are capable of
 26   communicating with other terminal devices through the reflected signal path created
 27   by the filter; and (4) terminal devices performing equalization on the received signal
 28   to overcome communication channel impairments caused by the reflected signal.

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  1         90.   The ’759 Patent. Claim 1 recites a method for determining a common
  2   bit-loading modulation scheme for communicating between a plurality of nodes in a
  3   broadband cable network (“BCN”), the method comprising:
  4         transmitting a probe signal from a transmitting node within the plurality
  5         of nodes to a sub-plurality of receiving nodes within the plurality of
  6         nodes;
  7         receiving a plurality of response signals from the sub-plurality of
  8         receiving nodes wherein each response signal includes a bit-loading
  9         modulation scheme determined by a corresponding receiving node; and
 10         determining the common bit-loading modulation scheme from the
 11         received plurality of response signals;
 12         receiving the probe signal at one receiving node of the plurality of
 13         receiving nodes through a channel path of transmission;
 14         determining the transmission characteristics of the channel path at the
 15         one receiving node; and
 16         transmitting a response signal from the one receiving node to the
 17         transmitting node,
 18         wherein the transmission characteristics of the channel path are
 19         determined by measuring the signal-to-noise (“SNR”) characteristics of
 20         the received probe signal at the one receiving node and
 21         wherein determining a common bit-loading modulation scheme
 22         includes:
 23               comparing a plurality of bit-loading modulation schemes from
 24               the corresponding received plurality of response signals; and
 25               determining the common bit-loading modulation scheme in
 26               response to comparing the plurality of bit-loaded modulation
 27               schemes.
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  1         91.    Claim 1 is directed to solving a technological problem in the field of
  2   broadband cable networks. In particular, conventional broadband cable networks at
  3   the time were used for transmission of programming in a “top-down” fashion to
  4   devices in a home or other building. These conventional broadband cable networks
  5   did not facilitate transmission of data from one device to another device on the
  6   network, let alone from one device to multiple devices simultaneously on the
  7   network.
  8         92.    Claim 1 is directed to a point-to-point topology, where each device in a
  9   network communicates with the other devices in that network in a direct and non-
 10   hierarchical fashion. As of the priority date of the ’759 Patent, this network topology
 11   was not routine, conventional, or well-known in the field of conventional coaxial or
 12   broadband cable networks for the reasons explained in Paragraphs 11 to 38 above.
 13         93.    Claim 1 improves the technology of broadband cable networking by
 14   enabling devices to communicate using broadcast transmissions that are customized
 15   for the characteristics of the communication paths in that network.
 16         94.    At the time of the invention of the ’759 Patent, it was not routine,
 17   conventional, or well-known in the art for devices connected to a conventional
 18   broadband cable network in the home or other premises to operate as nodes that could
 19   send data to, and receive data from, other nodes on that network.
 20         95.    At the time of the invention of the ’759 Patent, it was not routine,
 21   conventional, or well-known in the art for a device connected to a conventional
 22   broadband cable network to send probes to, or receive probes from another device on
 23   that network.
 24         96.    At the time of the invention of the ’759 Patent, it was not routine,
 25   conventional, or well-known in the art for devices connected to a broadband cable
 26   network to determine characteristics of the channel path between them.
 27         97.    At the time of the invention of the ’759 Patent, it was not routine,
 28   conventional, or well-known in the art for devices connected to a broadband cable

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  1   network to communicate with another simultaneously through the use of broadcast
  2   transmissions.
  3         98.      At the time of the invention of the ’759 Patent, it was not known in the
  4   art that when transmitting data over a broadband cable network from one node to
  5   multiple nodes it is generally more efficient to broadcast data over a common bit-
  6   loading scheme than to transmit data to each receiving node using a bit-loading
  7   scheme specific to each individual communication path.
  8         99.      The ’802 Patent. Claim 3 of the ’802 Patent recites a method for
  9   transmitting packets from a Broadband Cable Network (“BCN”) modem to a
 10   plurality of nodes in a broadband cable network, the method comprising:
 11         formatting the packets in a MAC subsystem that transmits the packets within
 12               the broadband cable network, including formatting a data and control
 13               packet for transmission within the broadband cable network, the data and
 14               control packet having a header and a variable length payload, the header
 15               having at least five fields selected from the group consisting of a transmit
 16               clock field, packet type field, packet subtype field, version field, source
 17               node ID field, destination node ID field, and header check sequence field;
 18         receiving the packets from the MAC subsystem at a Modem subsystem that is
 19               in signal communication with the MAC subsystem and that appends
 20               information to the packets; and
 21         upconverting the packets with the information for transmission via the
 22               broadband cable network at a RF subsystem that is in signal communication
 23               with the Modem subsystem;
 24         wherein at least one of the packets is a beacon packet that has a channel number
 25               field, change field, sequence number field, network coordinator ID field,
 26               next beacon index field, admission frame length field, admission window,
 27               asynchronous MAP length field and a beacon Cyclic Redundancy
 28               Checking (CRC) field.

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  1         100. Claim 3 of the ’802 Patent improves the technology of broadband cable
  2   networking by enabling data connections between a BCN modem and nodes of a
  3   broadband cable network directly over the existing coaxial cable with its current
  4   architecture, without the need to modify the existing cable infrastructure. The
  5   claimed methodology is used in a process that has since been referred to as “node
  6   admission,” during which a BCN modem forms initial connections to, and becomes
  7   part of, a logical point-to-point network running on a conventional coaxial data
  8   network.
  9         101. Claim 3 of the ’802 Patent recites unique data structures that are
 10   specific, and contribute to the improvement in conventional coaxial networking
 11   technology that allows a modem on a broadband cable network to communicate with
 12   a plurality of other modems on that network.
 13         102. In particular, claim 3 of the ’802 Patent recites use of a “source node ID
 14   field,” “destination node ID field,” and a “network coordinator ID field.” Each of
 15   these fields are unique to the node-to-node communication recited in claim 3 of the
 16   ’802 Patent, and which are used to achieve the technological advance in broadband
 17   cable networking that enabled communication between devices on the network.
 18         103. Prior to the invention of the ’802 Patent, admitting a new node into an
 19   conventional coaxial network that allowed high bandwidth communications between
 20   devices in a home was not routine, conventional, or well-known.
 21         104. Prior to the invention of the ’802 Patent, establishing optimal
 22   modulation and other transmission parameters that are optimized and periodically
 23   adapted to the channel between pairs of devices in a broadband cable network was
 24   not routine, conventional, or well-known.
 25         105. Prior to the invention of the ’802 Patent, the use of a “source node ID
 26   field,” “destination node ID field,” and a “network coordinator ID field” was not
 27   routine, conventional, or well-known in a broadband cable network. This is because
 28   devices in a conventional broadband cable network at the time did not communicate

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  1   with one another and thus did not identify the source, destination, or network
  2   coordinator.
  3         106. The invention of the ’802 Patent enabled flexibility—by allowing
  4   admission of nodes—in this new type of communication over conventional coaxial
  5   networks that was not routine, conventional, or well-known. It achieved this
  6   innovation without requiring changes to the legacy coaxial cables or splitters that
  7   were already installed in millions of homes across the United States.
  8         107. The element of “transmitting packets from a Broadband Cable Network
  9   (BCN) modem to a plurality of nodes in a broadband cable network” recites a
 10   particular technological environment, namely a broadband cable network.
 11         108. As described in Paragraphs 11 to 38 above, this broadband cable
 12   network environment had unique technological limitations as of the priority date of
 13   the ’802 Patent that made locating nodes on the network difficult and impractical. In
 14   particular, the isolation between output ports and attenuation of the signals crossing
 15   between them posed a technological barrier to forming this type of connection
 16   between nodes.
 17         109. Claim 3 of the ’802 Patent recites multiple limitations that were not a
 18   routine or conventional activity in the particular technological environment of
 19   broadband cable networking as of the priority date of the ’802 Patent.
 20         110. The element of “formatting the packets in a MAC subsystem that
 21   transmits the packets within the broadband cable network, including formatting a
 22   data and control packet for transmission within the broadband cable network, the data
 23   and control packet having a header and a variable length payload, the header having
 24   at least five fields selected from the group consisting of a transmit clock field, packet
 25   type field, packet subtype field, version field, source node ID field, destination node
 26   ID field, and header check sequence field” recites a technological capability that was
 27   not routine or conventional as of the priority date of the ’802 Patent. As of that date,
 28   the transmitting of packets (including the format of those packets) between network

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  1   devices connected to the tap ports of a splitter in a coaxial network was not a routine
  2   or well-known activity for the reasons explained in Paragraphs 11 to 38 above.
  3         111. The element of “upconverting the packets with the information for
  4   transmission via the broadband cable network at a RF subsystem that is in signal
  5   communication with the Modem subsystem” recites a technological capability that
  6   was not routine or conventional as of the priority date of the ’802 Patent. As of that
  7   date, upconverting packets so that the transmitted data is carried on RF signals at
  8   frequencies higher than the range typically used by cable TV was not a routine or
  9   well-known activity because as explained in Paragraphs 11 to 38 above, packet
 10   communications between network devices on a home coaxial network was not
 11   routine or well-known.
 12         112. The element of “wherein at least one of the packets is a beacon packet
 13   that has a channel number field, change field, sequence number field, network
 14   coordinator ID field, next beacon index field, admission frame length field,
 15   admission window, asynchronous MAP length field and a beacon Cyclic
 16   Redundancy Checking (CRC) field” recites a technological capability that was not
 17   routine or conventional as of the priority date of the ’802 Patent. As of that date,
 18   packet communications between network devices connected to the tap ports of a
 19   splitter in a coaxial network (splitter jumping)—and therefore the type and the
 20   formatting of such communications packets—was not a routine or well-known
 21   activity for the reasons explained in Paragraphs 11 to 38 above.
 22         113. As of the priority date of the ’802 Patent, network devices connected to
 23   the tap ports of a splitter in a coaxial network did not send or receive signals to one
 24   another. Sending signals of any kind between such devices was not a routine or well-
 25   known activity in this type of network for the reasons explained in Paragraphs 11 to
 26   38 above.
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  1         114. As of the priority date of the ’802 Patent, network devices connected to
  2   the tap ports of a splitter did not send or receive beacon messages to one another.
  3   Sending beacon messages between devices connected to the tap ports of a splitter in
  4   a coaxial network was not a routine or well-known activity as of that date for the
  5   reasons explained in Paragraphs 11 to 38 above.
  6         115. The ’450 Patent. Claim 29 of the ’450 Patent recites a broadcasting
  7   method within a Broadband Coaxial Network (“BCN”), comprising:
  8         a transmitting node transmitting a probe signal to a plurality of
  9         receiving nodes;
 10         the transmitting node receiving a plurality of response signals
 11         comprising a plurality of bit-loading modulation schemes from the
 12         plurality of receiving nodes, wherein each of the plurality of receiving
 13         nodes
 14                 receives the probe signal through a corresponding channel path,
 15                 determines transmission characteristics of the corresponding
 16                 channel path,
 17                 determines      a   bit-loading   modulation   scheme   for   the
 18                 corresponding channel path based on the transmission
 19                 characteristics, and
 20                 transmits a response signal to the transmitting node informing
 21                 the transmitting node of the bit-loading modulation scheme for
 22                 the corresponding channel path;
 23         the transmitting node comparing the plurality of bit-loading modulation
 24         schemes to determine a common bit-loading modulation scheme; and
 25         the transmitting node transmitting a broadcast signal relaying the
 26         common bit-loading modulation scheme to the plurality of receiving
 27         nodes.
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  1         116. Claim 29 is directed to solving a technological problem in the field of
  2   broadband coaxial networks. In particular, conventional broadband coaxial networks
  3   at the time did not facilitate transmission of data from one device to another device
  4   on the network, let alone from one device to multiple devices simultaneously on the
  5   network.
  6         117. Claim 29 recites a broadcasting method that is specific, and contributes
  7   to the improvement in conventional coaxial networking technology that allows a
  8   node on a broadband coaxial network to communicate efficiently with a plurality of
  9   other nodes on that network.
 10         118. In particular, claim 29 recites determining a “common bit-loading
 11   modulation scheme” based on a “plurality of bit-loading modulation schemes”
 12   determined by a plurality of receiving nodes on the network in response to probe
 13   signals sent by a transmitting node. The sending of probes and determination of a
 14   common bit-loading scheme is used to achieve the technological advance in
 15   broadband coaxial networking that enabled efficient communication between devices
 16   on the network.
 17         119. Claim 29 improves the technology of conventional broadband coaxial
 18   networks by enabling devices to communicate using broadcast transmissions that are
 19   customized for the characteristics of the communication paths in that network.
 20         120. At the time of the invention of the ’450 Patent, it was not routine,
 21   conventional, or well-known in the art for devices connected to a conventional
 22   broadband coaxial network in the home to operate as nodes that could send data to,
 23   and receive data from other nodes on that network.
 24         121. At the time of the invention of the ’450 Patent, it was not routine,
 25   conventional, or well-known in the art for a device connected to a conventional
 26   broadband coaxial network to send probe signals to, or receive probe signals from
 27   another device on that network.
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  1           122. At the time of the invention of the ’450 Patent, it was not routine,
  2   conventional, or well-known in the art for devices connected to a conventional
  3   broadband coaxial network to determine characteristics of the channel path between
  4   them.
  5           123. At the time of the invention of the ’450 Patent, it was not routine,
  6   conventional, or well-known in the art for devices connected to a conventional
  7   broadband coaxial network to communicate with another simultaneously through the
  8   use of broadcast transmissions.
  9           124. At the time of the invention of the ’450 Patent, it was not routine,
 10   conventional, or well-known in the art for a device connected to a conventional
 11   broadband coaxial network to relay a common bit-loading modulation scheme to
 12   other devices on a coaxial network.
 13           125. At the time of the invention of the ’450 Patent, it was not known in the
 14   art that when transmitting data over a broadband coaxial network from one node to
 15   multiple nodes it is generally more efficient to broadcast data over a common bit-
 16   loading scheme than to transmit data to each receiving node using a bit-loading
 17   scheme specific to each individual communication path.
 18           126. The ’539 Patent. Claim 1 of the ’539 Patent recites a modem for
 19   communication to at least one node across at least one channel of a coaxial network,
 20   the modem comprising:
 21           a transmitter; and
 22           a MAC layer in signal communication with the transmitter, the MAC
 23           layer using at least one probe packet as an echo profile probe to measure
 24           node delay spread on the network and the MAC layer optimizing the
 25           preamble and cyclic prefix requirements or other parameters in
 26           response to the measured node delay spread on the network;
 27           wherein the transmitter communicates the at least one probe packet.
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  1         127. Claim 1 is directed to solving a technological problem in the field of
  2   coaxial networks. In particular, modems on a conventional coaxial network at the
  3   time of the ’539 Patent did not communicate with one another, and thus did not have
  4   a means for measuring the delay on the network or optimizing parameters based on
  5   that measurement.
  6         128. Claim 1 recites the use of probes to measure network delay spread that
  7   is specific, and contributes to the improvement in coaxial networking technology that
  8   allows a modem on a conventional coaxial network to communicate efficiently with
  9   other nodes on that network.
 10         129. Claim 1 recites the use of probes to optimize communication parameters
 11   that is specific, and contributes to the improvement in conventional coaxial
 12   networking technology that allows a modem on a coaxial network to communicate
 13   efficiently with other nodes on that network.
 14         130. Claim 1 improves the communication capabilities of modems connected
 15   to a coaxial network. In particular, claim 1 recites the use of an echo profile probe to
 16   measure node delay spread, which conventional coaxial networks did not measure or
 17   have reason to measure. Claim 1 also recites optimizing communication parameters
 18   in response to the measured delay spread, which conventional coaxial networks did
 19   not do or have reason to do.
 20         131. At the time of the invention of the ’539 Patent, it was not routine,
 21   conventional, or well-known in the art for modems connected to a conventional
 22   broadband cable network to communicate with another.
 23         132. At the time of the invention of the ’539 Patent, it was not routine,
 24   conventional, or well-known in the art for modems connected to a conventional
 25   broadband cable network to transmit probe packets, let alone for the specific purpose
 26   of measuring node delay spread on the network.
 27         133. The element of “a MAC layer in signal communication with the
 28   transmitter, the MAC layer using at least one probe packet as an echo profile probe

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  1   to measure node delay spread on the network” recites a technological capability that
  2   was not routine or conventional in existing on-premises coaxial networks as of the
  3   priority date of the ’539 Patent for the reasons explained in Paragraphs 11 to 38
  4   above.
  5         134. The element of “the MAC layer optimizing the preamble and cyclic
  6   prefix requirements or other parameters in response to the measured node delay
  7   spread on the network” recites a technological capability that was not routine or
  8   conventional in existing on-premises coaxial networks as of the priority date of the
  9   ’539 Patent for the reasons explained in Paragraphs 11 to 38 above.
 10    ENTROPIC INC. CONTINUES TO INNOVATE WITH IMPROVEMENTS
 11                  TO CONVENTIONAL COAXIAL NETWORKS
 12         135. Through MoCA and the inventions of the Patents-in-Suit described in
 13   Paragraphs 39 through 134 above, Entropic Inc. revolutionized the delivery of high-
 14   speed data networking services to customers on existing home coaxial infrastructure.
 15   For example, using MoCA, cable and satellite providers were able to link multiple
 16   devices in a customer’s home in a data network, allowing for a DVR device to record
 17   content and stream it to another device in the home.
 18         136. Now that devices in a conventional coaxial network could communicate
 19   with one another due to Entropic Inc.’s inventions, a greater need arose for faster,
 20   more reliable data connections to support applications such as transmitting high-
 21   quality video. This became more and more apparent as customers continued to want
 22   to connect more devices to their home networks.
 23         137. Furthermore, Internet subscribers expected delivery of more and higher-
 24   bandwidth services, including multimedia-based applications such as real-time
 25   streaming of high definition (“HD”) video and entertainment. This demand for
 26   higher-bandwidth services included the use of bandwidth for streaming video stored
 27   on one device on a coaxial network to another device on that network in another room
 28   in a subscriber’s home.

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  1         138. In the 2000s, system operators faced a growing challenge of supporting
  2   real-time, multimedia streaming applications simultaneous with standard Internet
  3   access traffic while maintaining coexistence with already existing services, such as
  4   TV, within the same home network environment. Critical to effectively serving all
  5   these data flows is a method to ensure that each application is guaranteed the
  6   bandwidth and minimal latency necessary to provide a satisfactory user experience.
  7         139. One barrier to streaming video between devices in a home over coaxial
  8   network was latency in video transmission. High amounts of latency, or delay,
  9   adversely affects the viewing experience. A disruption to the flow of streaming video
 10   or audio can result in stuttering playback, blocky video, or a complete loss of audio,
 11   which can prompt a service call from the subscriber. As a result, there was a need for
 12   technical solutions that could provide quality of service (“QoS”) mechanisms to
 13   control the operation of the network. These mechanisms would manage the priorities
 14   of different traffic flows on the network to ensure that data was delivered in
 15   accordance with the technical requirements, such as latency or throughput
 16   requirements, of particular devices or applications.
 17         140. Another challenge for streaming video between devices in a home over
 18   a coaxial network was managing the demands for bandwidth made by the different
 19   devices. This challenge arose in part from Entropic Inc.’s prior inventions, which
 20   allowed for communications between devices over a coaxial network. In the mid-
 21   2000s, there arose a need for technological solutions that could improve the operation
 22   of a packet-based, point-to-point network over conventional coaxial installations,
 23   such as a MoCA network, to provide bandwidth allocations to multiple devices in
 24   these new network architectures that Entropic Inc. had made possible.
 25         141. Another challenge for streaming video between devices in a home over
 26   a coaxial network was establishing the role of a network coordinator to manage
 27   bandwidth demands and quality of service. In point-to-point communication within
 28   a packet-based network on conventional coaxial installations, such as that enabled by

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  1   the MoCA network architecture, no specific device in the home would be pre-defined
  2   as the node that manages communications of all other devices on that network.
  3         142. Instead, the devices would need to coordinate with one another to
  4   determine dynamically, based on characteristics of the network, which device would
  5   serve as a “Network Coordinator (NC) node.” Thus, the specific nature of the point-
  6   to-point network architecture in question required new solutions for how the NC node
  7   would operate in order to achieve the bandwidth allocation and quality of service
  8   requirements that the network required.
  9         143. As of the mid-2000s, it was not routine or conventional to distinguish
 10   between types of data or to guarantee bandwidth for a type of data flow for data
 11   transmitted over a logical point-to-point network running over a conventional coaxial
 12   network architecture.
 13         144. To address these new challenges brought on by its own prior innovative
 14   work on coaxial networks, Entropic Inc. continued its inventive work in coaxial
 15   networking after the initial development of MoCA 1.0.
 16         145. Entropic Inc. was exclusively responsible for the development of the
 17   next version of the MoCA standard, MoCA 1.1, ratified in 2007.
 18         146. Entropic Inc. was also instrumental in the development of MoCA 2.0,
 19   ratified in 2010.
 20         ENTROPIC INC.’S LATER INVENTIONS FURTHER IMPROVED
 21            CONVENTIONAL COAXIAL NETWORK TECHNOLOGY
 22         147. Several of the Patents-in-Suit claim priority to 2007 to 2008. These
 23   Patents-in-Suit include the ’213 Patent, the ’422 Patent, the ’0,566 Patent, and the
 24   ’681 Patent.
 25         148. These Patents-in-Suit, described below, recite improvements in the
 26   efficiency and capabilities of the logical point-to-point networks running on top of
 27   conventional coaxial networking technology.
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  1         149. The claimed inventions of the Patents-in-Suit below were standardized
  2   in subsequent versions of the MoCA standards.
  3         150. The ’213 Patent. Claim 1 of the ’213 Patent recites a communication
  4   method implemented in a Network Coordinator (“NC”) node of a communication
  5   network of a premises, the method comprising:
  6         broadcasting to a plurality of nodes of the network, a request for a guaranteed
  7            quality of service flow in the network from a source node to at least one
  8            egress node, the plurality of nodes of the network to which the NC node
  9            broadcasts the request including at least the source node and the at least one
 10            egress node;
 11         receiving a first response to the request from the source node, wherein the
 12            source node is the point of origin for the purposes of the guaranteed quality
 13            of service flow for data to be communicated within the guaranteed quality
 14            of service flow, the first response indicating whether the source node has
 15            available resources to support the guaranteed quality of service flow;
 16         receiving a second response to the request from the at least one egress node
 17            indicating whether the at least one egress node has available resources to
 18            support the guaranteed quality of service flow; and
 19         if the source node and the at least one egress node have available resources to
 20            support the guaranteed quality of service flow, then allocating resources for
 21            the guaranteed quality of service flow;
 22         if the source node and the at least one egress node do not have available
 23            resources to support the guaranteed quality of service flow, then:
 24               denying the guaranteed quality of service flow; and
 25               if the guaranteed quality of service flow is denied based on bandwidth-
 26                  related reasons, then determining a maximum data rate that would
 27                  have resulted in a successful request for a guaranteed quality of
 28                  service flow, and transmitting a message comprising information

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  1                    describing the maximum data rate that would have resulted in a
  2                    successful request for a guaranteed quality of service flow.
  3           151. Claim 1 of the ’213 Patent is directed to improving a specific networking
  4   architecture where one node functions as a “Network Coordinator (NC) node” to
  5   manage quality of service for a plurality of nodes on the network. The role of an NC
  6   node is not generic to networks, but arises in specific point-to-point networking
  7   technologies, such as MoCA.
  8           152. Claim 1 of the ’213 Patent improves the technology of broadband cable
  9   networking by establishing and maintaining guaranteed quality of service flows in a
 10   network using specific functions of the NC node. This type of QoS mechanism has
 11   since been referred to as “parameterized quality of service” or “PQoS.”
 12           153. Claims 3 and 4 of the ’213 Patent, which depend from claim 1, recite
 13   the particular technological environment of a coaxial cable-based network within a
 14   home.
 15           154. Prior to the invention of the ’213 Patent, guaranteeing bandwidth for
 16   particular data types in a network through use of an NC node was not routine,
 17   conventional, or well-known.
 18           155. Prior to the invention of the ’213 Patent, establishing dedicated quality
 19   of service flows for particular data types in a logical point-to-point network through
 20   use of an NC node was not routine, conventional, or well-known.
 21           156. Prior to the invention of the ’213 Patent, it was not a routine,
 22   conventional, or well-known activity to distinguish the types of data transmitted on
 23   a logical point-to-point network through use of an NC node.
 24           157. The invention of the ’213 Patent enabled a new type of QoS method for
 25   networks through use of an NC node that was not routine, conventional, or well-
 26   known. It further improved the performance of the logical point-to-point data
 27   networks formed over conventional coaxial networks.
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  1         158. The elements of “a communication network of a premises,” “a plurality
  2   of nodes of the network,” “a source node,” and “at least one egress node” recite a
  3   particular technological environment, namely a physical communication network of
  4   a premises, such as a home or office.
  5         159. As described in Paragraphs 135 to 143 above, such networks faced
  6   unique technological challenges as of the priority date of the ’213 Patent as
  7   customers’ demand rose for higher-bandwidth services through their Internet
  8   subscriptions. In particular, known QoS methods proved inadequate as video
  9   streaming became more prevalent.
 10         160. Claim 1 of the ’213 Patent recites multiple elements that were not
 11   routine or conventional activity in the particular technological environment of logical
 12   point-to-point networks that used an NC node as of the priority date of the ’213
 13   Patent, including logical networks running on a conventional coaxial network.
 14         161. The element of “broadcasting to a plurality of nodes of the network, a
 15   request for a guaranteed quality of service flow in the network from a source node to
 16   at least one egress node, the plurality of nodes of the network to which the NC node
 17   broadcasts the request including at least the source node and the at least one egress
 18   node” recites a technological capability that was not routine or conventional as of the
 19   priority date of the ’213 Patent. As of that date, initiating a guaranteed quality of
 20   service flow in a logical point-to-point network running on a conventional coaxial
 21   network was not a routine or well-known activity for the reasons explained in
 22   Paragraphs 135 to 143 above.
 23         162. The elements of “receiving a first response to the request from the
 24   source node, wherein the source node is the point of origin for the purposes of the
 25   guaranteed quality of service flow for data to be communicated within the guaranteed
 26   quality of service flow, the first response indicating whether the source node has
 27   available resources to support the guaranteed quality of service flow” “receiving a
 28   second response to the request from the at least one egress node indicating whether

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  1   the at least one egress node has available resources to support the guaranteed quality
  2   of service flow” recite technological capabilities that were not routine or
  3   conventional as of the priority date of the ’213 Patent. As of that date, determining
  4   whether the endpoint nodes of a data flow have the available resources to guarantee
  5   a quality of service flow in a logical point-to-point network was not a routine or well-
  6   known activity for the reasons explained in Paragraphs 135 to 143 above.
  7         163. The element of “if the source node and the at least one egress node have
  8   available resources to support the guaranteed quality of service flow, then allocating
  9   resources for the guaranteed quality of service flow” and “if the source node and the
 10   at least one egress node do not have available resources to support the guaranteed
 11   quality of service flow, then . . . transmitting a message comprising information
 12   describing the maximum data rate that would have resulted in a successful request
 13   for a guaranteed quality of service flow” recite technological capabilities that were
 14   not routine or conventional as of the priority date of the ’213 Patent. As of that date,
 15   establishing a guaranteed quality of service flow in a logical point-to-point network
 16   if the endpoint nodes of a data flow have available resources to guarantee a particular
 17   bandwidth, or alternatively determining a maximum bandwidth, was not a routine or
 18   well-known activity for the reasons explained in Paragraphs 135 to 143 above.
 19         164. As of the priority date of the ’213 Patent, subscribers’ on-premises
 20   communication networks were not equipped to handle the growing demand for
 21   Internet services, including multimedia applications such as video streaming.
 22   Prioritizing data flow by data type and guaranteeing bandwidth for a particular data
 23   type was not a routine or well-known activity in conventional coaxial networks for
 24   the reasons explained in Paragraphs 135 to 143 above.
 25         165. The ’422 Patent. Claim 1 of the ’422 Patent recites a communication
 26   network comprising:
 27         a requesting node;
 28         a Network Coordinator (NC) node; and

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  1         a plurality of requested nodes,
  2         wherein:
  3               the requesting node is operable to, at least, communicate a first message
  4                    to the NC node requesting a list comprising parameterized quality of
  5                    service (PQoS) flows of the communication network; and
  6               the NC node is operable to, at least:
  7                       receive the first message from the requesting node; and
  8                       in response to the received first message:
  9                             communicate a second message to each requested node of
 10                                the plurality of requested nodes, the second message
 11                                requesting from said each requested node a list
 12                                identifying PQoS flows for which said each requested
 13                                node is an ingress node;
 14                             receive, from said each requested node a respective third
 15                                message comprising a list identifying PQoS flows for
 16                                which said each requested node is an ingress node;
 17                             form an aggregated list of PQoS flows comprising each
 18                                respective list identifying PQoS flows from each
 19                                received third message; and
 20                             communicate a fourth message to at least the requesting
 21                                node comprising the aggregated list,
 22                             wherein the second message specifies a range of PQoS
 23                                flows being queried.
 24         166. The ’422 Patent is a family member of the ’213 Patent, and as described
 25   above, the type of QoS mechanism described in the ’213 and ’422 Patents has since
 26   been referred to as “parameterized quality of service” or “PQoS.”
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  1           167. Claim 1 of the ’422 Patent is directed to evaluating the existing
  2   guaranteed quality of service flows in a logical point-to-point network that uses an
  3   NC node to manage QoS.
  4           168. Like the ’213 Patent, Claim 1 of the ’422 Patent improves the
  5   technology of specific network architectures by enabling PQoS through use of an NC
  6   node.
  7           169. As described above with respect to the ’213 Patent, the invention of the
  8   ’422 Patent is directed to improving the technology used in networks that rely on an
  9   NC node, such as a coaxial cable-based network within a home that uses MoCA
 10   technology to enable communication between all nodes in the home.
 11           170. As described above with respect to the ’213 Patent, prior to the invention
 12   of the’422 Patent, guaranteeing bandwidth for particular data types in a logical point-
 13   to-point network using an NC node, such as a MoCA network, was not routine,
 14   conventional, or well-known.
 15           171. Prior to the invention of the’422 Patent, establishing dedicated quality
 16   of service flows for particular data types in a logical point-to-point network through
 17   use of an NC node was not routine, conventional, or well-known.
 18           172. Prior to the invention of the ’422 Patent, it was not a routine,
 19   conventional, or well-known activity to distinguish the types of data transmitted
 20   through a logical point-to-point network using an NC node.
 21           173. The invention of the ’422 Patent enabled a new type of QoS method for
 22   networks using an NC node that was not routine, conventional, or well-known. It
 23   further improved the performance of logical point-to-point networks formed over
 24   legacy coaxial cables or splitters that were already installed in millions of homes
 25   across the United States.
 26           174. The elements of “a communication network,” “a requesting node,” “a
 27   Network Coordinator (NC) node,” and “a plurality of requested nodes” recite a
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  1   particular technological environment, namely a physical communication network of
  2   a premises, such as a home or office.
  3         175. As described in Paragraphs 135 to 143 above, such networks faced
  4   unique technological challenges as of the priority date of the ’422 Patent as
  5   customers’ demand rose for higher-bandwidth services through their Internet
  6   subscriptions. In particular, known QoS methods proved inadequate as video
  7   streaming became more prevalent.
  8         176. Claim 1 of the ’422 Patent recites multiple elements that were not
  9   routine or conventional activity in the particular technological environment of
 10   communications networks as of the priority date of the ’422 Patent.
 11         177. The elements of “communicate a first message to the NC node
 12   requesting a list comprising PQoS flows of the communication network” and
 13   “communicate a second message to each requested node of the plurality of requested
 14   nodes, the second message requesting from said each requested node a list identifying
 15   PQoS flows for which said each requested node is an ingress node” recite a
 16   technological capability that was not routine or conventional as of the priority date
 17   of the ’213 Patent. As of that date, requesting a list of existing guaranteed quality of
 18   service flows in a network was not a routine or well-known activity for the reasons
 19   explained in Paragraphs 135 to 143 above.
 20         178. The element of “receive, from said each requested node a respective
 21   third message comprising a list identifying PQoS flows for which said each requested
 22   node is an ingress node” recites a technological capability that was not routine or
 23   conventional as of the priority date of the ’213 Patent. As of that date, identifying
 24   resource commitments of existing guaranteed quality of service flows of a source or
 25   ingress node in a logical point-to-point network was not a routine or well-known
 26   activity for the reasons explained in Paragraphs 135 to 143 above.
 27         179. The element of “form an aggregated list of PQoS flows comprising each
 28   respective list identifying PQoS flows from each received third message” recites a

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  1   technological capability that was not routine or conventional as of the priority date
  2   of the ’213 Patent. As of that date, identifying and aggregating resource commitments
  3   of existing guaranteed quality of service flows of all source or ingress nodes in a
  4   logical point-to-point network was not a routine or well-known activity for the
  5   reasons explained in Paragraphs 135 to 143 above.
  6         180. As of the priority date of the ’422 Patent, subscribers’ on-premise
  7   communication networks were not equipped to handle the growing demand for
  8   Internet services, including multimedia application such as video streaming.
  9   Prioritizing data flow by data type and guaranteeing bandwidth for a particular data
 10   type was not a routine or well-known activity in conventional coaxial networks for
 11   the reasons explained in Paragraphs 135 to 143 above.
 12         181. The ’0,566 Patent. Claim 1 of the ’0,566 Patent recites a method for
 13   communications transmission using orthogonal frequency division multiple access
 14   on a network comprising:
 15         a) providing a plurality of transmitting network devices with a set of available
 16            subcarriers for orthogonal frequency division multiple access;
 17         b) providing a corresponding element of a pseudorandom noise sequence for
 18            each subcarrier of the set of available subcarriers;
 19         c) allocating a subset of the set of available subcarriers to each of the
 20            transmitting network devices;
 21         d) a transmitting network device of the plurality of devices mapping a packet
 22            onto a plurality of used subcarriers of its allocated subset of available
 23            subcarriers, wherein the step of mapping the packet comprises mapping the
 24            packet onto a plurality of quadrature amplitude modulated symbols to be
 25            transmitted on the used subcarriers;
 26         e) the transmitting network device performing a predetermined transformation
 27            on a quadrature amplitude modulated symbol using the element of the
 28            pseudorandom noise sequence corresponding to the used subcarrier;

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  1         f) the transmitting network device transmitting the transformed symbol to a
  2               receiving network device.
  3         182. Claim 1 of the ’0,566 Patent is directed to solving a technological
  4   problem in the field of broadband coaxial networks. In particular, with the many
  5   continued advancements in data communication technology in the 2000s, as
  6   described above in Paragraphs 135 to 143, more and more devices were being
  7   introduced into home data networks with high bandwidth communications
  8   capabilities, and subscribers were expecting delivery of more and higher-bandwidth
  9   services such as HD video streaming. This increase in demand presented technical
 10   challenges to data networks formed on existing coaxial networks.
 11         183. Claim 1 improves the performance of a coaxial communications
 12   network by enabling multiple transmitting network devices to transmit under an
 13   orthogonal frequency divisional multiple access (“OFDMA”) scheme to a receiving
 14   network device. Such a communications method enables the efficient allocation of
 15   bandwidth among various communicating devices on the network.
 16         184. At the time of the invention of the ’0,566 Patent, employing OFDMA
 17   schemes on a coaxial network was not routine, conventional, or well-known.
 18         185. At the time of the invention of the ’0,566 Patent, it was not a routine,
 19   conventional, or well-known activity to provide, on a conventional coaxial network,
 20   “a plurality of transmitting network devices with a set of available subcarriers for
 21   orthogonal frequency division multiple access” and “a corresponding element of a
 22   pseudorandom noise sequence for each subcarrier of the set of available subcarriers.”
 23         186. At the time of the invention of the ’0,566 Patent, it was not a routine,
 24   conventional, or well-known activity to allocate, on a conventional coaxial network,
 25   “a subset of the set of available subcarriers to each of the transmitting network
 26   devices.”
 27         187. At the time of the invention of the ’0,566 Patent, it was not a routine,
 28   conventional, or well-known activity for a network device on a coaxial data network

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  1   to “map[] a packet onto a plurality of used subcarriers of its allocated subset of
  2   available subcarriers, wherein the step of mapping the packet comprises mapping the
  3   packet onto a plurality of quadrature amplitude modulated symbols to be transmitted
  4   on the used subcarriers,” to “perform[] a predetermined transformation on a
  5   quadrature amplitude modulated symbol using the element of the pseudorandom
  6   noise sequence corresponding to the used subcarrier,” or to “transmit[] the
  7   transformed symbol to a receiving network device.”
  8         188. The invention of the ’0,566 Patent enabled a new and more efficient data
  9   communication scheme (i.e., OFMDA) over existing on-premises coaxial networks
 10   that was not routine, conventional, or well-known. It achieved this innovation
 11   without requiring changes to the legacy coaxial cables or splitters that were already
 12   installed in millions of homes across the United States.
 13         189. The ’681 Patent. Claim 1 of the ’681 Patent recites a method for
 14   synchronizing a plurality of nodes on a communication network, comprising:
 15         exchanging a local clock time between a first node and a second node over the
 16            communication network, wherein the exchange comprises:
 17                transmitting a first packet from the first node to the second node,
 18                   wherein the first packet includes a first packet clock time set to the
 19                   local clock time of the first node at transmission time, and includes
 20                   a scheduled arrival clock time, and
 21                setting the local clock time of the second node to the first packet clock
 22                   time;
 23         performing a ranging method between the first and second nodes based on the
 24            local clock time exchanged, wherein the ranging method results in an
 25            estimated propagation delay between the first and second node, and
 26            wherein the ranging method comprises:
 27                transmitting a second packet from the second node to the first node,
 28                   wherein the second packet is transmitted from the second node at the

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  1                   scheduled arrival clock time, and wherein the second packet is
  2                   received by the first node at an actual arrival clock time,
  3                calculating and storing the estimated propagation delay at the first node,
  4                   wherein calculating the estimated propagation delay is based on the
  5                   scheduled arrival clock time and the actual arrival time, and
  6                transmitting a third packet from the first node to the second node,
  7                   wherein the third packet comprises the estimated propagation delay;
  8                   and
  9         adjusting the local clock time of either the first or second node based on the
 10            estimated propagation delay, thereby resulting in a synchronized local
 11            clock time between the first and second node.
 12         190. Claim 1 of the ’681 Patent is directed to solving a technological problem
 13   in the field of broadband coaxial networks. In particular, with the many continued
 14   advancements in data communication technology in the 2000s, as described above in
 15   Paragraphs 135 to 143, more and more devices are being introduced into home data
 16   networks with high bandwidth communications capabilities, and subscribers were
 17   expecting delivery of more and higher-bandwidth services such as HD video
 18   streaming. This increase in demand presented technical challenges to data networks
 19   formed on existing coaxial networks.
 20         191. Claim 1 of the ’681 Patent recites an improvement in clock
 21   synchronization that solves a problem in estimating and accounting for propagation
 22   delay. The solution is directed to logical point-to-point networks, such as coaxial
 23   networks using MoCA technology, that require an estimate of propagation delay in a
 24   multipath environment where the propagation delay between two nodes is not known
 25   in advance, can vary dynamically based on changes in the channel path
 26   characteristics between them, and where the delay between two nodes in one
 27   direction can differ from the delay in the opposite direction.
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  1         192. At the time of the invention of the ’681 Patent, it was not a routine,
  2   conventional, or well-known activity to exchange, on a conventional coaxial
  3   network, “a local clock time between a first node and a second node over the
  4   communication network” involving “transmitting a first packet from the first node to
  5   the second node, wherein the first packet includes a first packet clock time set to the
  6   local clock time of the first node at transmission time, and includes a scheduled
  7   arrival clock time” and “setting the local clock time of the second node to the first
  8   packet clock time.”
  9         193.   At the time of the invention of the ’681 Patent, it was not a routine,
 10   conventional, or well-known activity to “perform[] a ranging method between the
 11   first and second nodes based on the local clock time exchanged, wherein the ranging
 12   method results in an estimated propagation delay between the first and second node”
 13   involving “transmitting a second packet from the second node to the first node,
 14   wherein the second packet is transmitted from the second node at the scheduled
 15   arrival clock time, and wherein the second packet is received by the first node at an
 16   actual arrival clock time,” “calculating and storing the estimated propagation delay
 17   at the first node, wherein calculating the estimated propagation delay is based on the
 18   scheduled arrival clock time and the actual arrival time,” and “transmitting a third
 19   packet from the first node to the second node, wherein the third packet comprises the
 20   estimated propagation delay.”
 21         194. At the time of the invention of the ’681 Patent, it was not a routine,
 22   conventional, or well-known activity to “adjust[] the local clock time of either the
 23   first or second node based on the estimated propagation delay, thereby resulting in a
 24   synchronized local clock time between the first and second node.”
 25         195. The invention of the ’681 Patent enabled improvements to the efficiency
 26   of conventional coaxial networks that were not routine, conventional, or well-known.
 27   It achieved this innovation without requiring changes to the legacy coaxial cables and
 28   splitters that were already installed in millions of homes across the United States.

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  1               THE ACCUSED MOCA INSTRUMENTALITIES AND
  2                                ACCUSED SERVICES
  3         196. DIRECTV utilizes various instrumentalities, deployable as nodes in a
  4   MoCA-compliant coaxial cable network.
  5         197. DIRECTV deploys the instrumentalities to, inter alia, provide a whole-
  6   premises DVR network over an on-premises coaxial cable network, with products
  7   including DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61,
  8   DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
  9   DIRECTV HR54, and DIRECTV HS17 (and devices that operate in a similar
 10   manner) serving as nodes operating with data connections compliant with MoCA 1.0,
 11   1.1, and/or 2.0. Such components are referred to herein as the “Accused MoCA
 12   Instrumentalities.” The MoCA-compliant services offered by DIRECTV employing
 13   the Accused MoCA Instrumentalities, including the operation of a MoCA-compliant
 14   network in which such instrumentalities are deployed, are referred to herein as the
 15   “Accused Services.”
 16         198. An exemplary illustration of the topology of various Accused MoCA
 17   Instrumentalities in a DIRECTV deployment is pictured below. 1
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        This is an example of the products used in the infringing network and is not
 28   intended to limit the scope of products accused of infringement.
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 16          199. Upon information and belief, the Accused MoCA Instrumentalities form
 17   networks over a coaxial cable network in accordance with the MoCA 1.0, 1.1, and/or
 18   2.0.
 19          200. Specifically, upon information and belief, DIRECTV instrumentalities
 20   including the DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61,
 21   DIRECTV C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44,
 22   DIRECTV HR54, and DIRECTV HS17 form networks over a coaxial cable network
 23   in accordance with MoCA 1.0, 1.1, and/or 2.0.
 24          201. Most commonly, the Accused Services are offered and provided in
 25   exchange for fees paid to DIRECTV.
 26          202. DIRECTV itself also sometimes tests and demonstrates the Accused
 27   Services, by means of Accused MoCA Instrumentalities.
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  1          203. In some deployments of the Accused MoCA Instrumentalities and the
  2   performance of the Accused Services, DIRECTV uses one or more of the DIRECTV
  3   C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV C61K, DIRECTV
  4   HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and DIRECTV HS17
  5   (and devices that operate in a similar manner), to provide signals, programming and
  6   content utilizing a data connection carried over a coaxial cable network in accordance
  7   with the MoCA standards.
  8          204. In or about January 2013 Rudy Ramirez, in his capacity as DIRECTV
  9   Panamericana’s senior director of product development, stated that MoCA
 10   technology “will allow for simpler home network installations and home topology
 11   that will allow us to provide our customers with the best entertainment experience in
 12   the region.” 2
 13          205. Upon information and belief, Mr. Ramirez, and/or other authorized
 14   DIRECTV or DIRECTV Panamericana personnel authorized the publication and
 15   attribution of the preceding quote to Mr. Ramirez.
 16          206. In January 2010, Romulo Pontual, in his capacity as DIRECTV’s chief
 17   technology officer stated, “[b]y integrating MoCA technology into our STBs along
 18   with the existing deployment of Single Wire Multiswitch, we will set ourselves apart
 19   from the competition as a leading provider of connected home technology.” 3
 20          207. Upon information and belief, Mr. Pontual, and/or other authorized
 21   DIRECTV personnel authorized the publication and attribution of the preceding
 22   quotation to Mr. Pontual.
 23   ///
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       https://www.globenewswire.com/news-
 25   release/2013/01/08/515194/9308/en/DIRECTV-PanAmericana-Selects-Entropic-s-
 26   Silicon-and-Software-to-Roll-Out-Advanced-TV-Viewing-Services.html
 27
      3
       https://www.globenewswire.com/news-
      release/2010/01/25/412869/9308/en/Entropic-Communications-Silicon-Selected-
 28   by-DIRECTV-for-Home-Networking-Deployments.html
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  1         208. In or about January 2012, Mike Pulli, in his capacity as CEO of Pace
  2   Americas, the manufacturer and/or supplier of DIRECTV receivers, announced that
  3   MoCA was a core requirement in DIRECTV receivers. 4
  4         209. Upon information and belief, DIRECTV required that its receivers be
  5   equipped with MoCA capabilities in at least 2012.
  6         210. Upon information and belief, DIRECTV continues to require that
  7   certain of DIRECTV’s set top boxes have MoCA capabilities.
  8         211. DIRECTV was aware of its deployment and use of MoCA at least as
  9   early as the later of its involvement with MoCA and six years prior to the filing of
 10   this complaint.
 11         212. Upon information and belief, DIRECTV was aware that Entropic Inc.
 12   invented technology underlying the MoCA standards. Accordingly, such Entropic
 13   Inc. technology would be incorporated into any instrumentality compliant with the
 14   MoCA standards.
 15         213. Upon information and belief, DIRECTV and/or its subsidiaries was a
 16   member of MoCA beginning in 2012 through at least October, 2019, providing it
 17   with full access to then-existing versions of the MoCA standards.
 18         214. Upon information and belief, DIRECTV was aware that Entropic Inc.
 19   intended to and did pursue patent protection for technology related to MoCA, at least
 20   as early as the later of its involvement with MoCA and the issue date of the Asserted
 21   Patents.
 22         215. When DIRECTV obtained, deployed and/or used instrumentalities with
 23   MoCA functionality not provided by Entropic Inc., DIRECTV knew or should have
 24   known that Entropic Inc. had provided no authorization for such activities, for
 25   example by a patent license.
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       https://www.globenewswire.com/en/news-
      release/2012/01/11/465253/9308/en/Entropic-Communications-Powers-the-Pace-
 28   HR34-Home-Media-Center-HD-DVR-for-DIRECTV.html
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  1         216. Upon information and belief, when DIRECTV obtained, deployed
  2   and/or used instrumentalities with MoCA functionality not provided by Entropic Inc.,
  3   DIRECTV failed to investigate whether Entropic Inc. authorized the use of Entropic
  4   Inc.’s patents for such activity.
  5         217. Alternatively, upon information and belief, when DIRECTV obtained,
  6   deployed and/or used instrumentalities with MoCA functionality not provided by
  7   Entropic Inc., DIRECTV knew the use of Entropic Inc.’s patents for such activity
  8   was not authorized by Entropic Inc.
  9      ENTROPIC ACQUIRES THE PATENTS AND CONTACTS DIRECTV
 10          ABOUT TAKING A LICENSE TO THE ASSERTED PATENTS
 11         218. Entropic Inc. achieved technological and commercial success from its
 12   inventive work with coaxial networks throughout the 2000s.
 13         219. In addition to its work on MoCA and the inventions that enabled it,
 14   Entropic Inc. also developed Direct Broadcast Satellite (“DBS”) Outdoor Unit
 15   (“ODU”) single-wire technology, and System-on-Chip (“SoC”) solutions for set-top
 16   boxes (“STBs”) in the home television and home video markets.
 17         220. Under the technical guidance of Dr. Monk, Entropic Inc. grew to be
 18   publicly listed on the NASDAQ in 2007. After the public listing, the company
 19   acquired RF Magic, Inc. in 2007, a company specializing in DBS ODU technology
 20   and related hardware.
 21         221. Additional growth between 2007 and 2015 bolstered the technical
 22   expertise of Entropic Inc. with respect to signal acquisition, stacking, filtering,
 23   processing, and distribution for STBs and cable modems.
 24         222. In 2015, MaxLinear, Inc. (“MaxLinear”)—a leading provider of radio-
 25   frequency, analog, digital, and mixed-signal semiconductor solutions—acquired
 26   Entropic Inc., and the pioneering intellectual property developed by Dr. Monk and
 27   his team.
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  1         223. In 2021, Plaintiff Entropic Communications, LLC was established.
  2         224. In 2021, MaxLinear transferred to Entropic a portfolio of intellectual
  3   property representing the innovations of Entropic and MaxLinear in the cable and
  4   satellite services markets.
  5         225. Prior to filing this Complaint, Entropic contacted DIRECTV numerous
  6   times in an attempt to reach a license agreement with DIRECTV regarding Entropic’s
  7   patent portfolio, including discussions aimed at the field of technology standardized
  8   by the MoCA.
  9         226. On March 9, 2022, Entropic sent a communication by electronic means
 10   to DIRECTV, including the Patents-in-Suit.
 11         227. On December 23, 2022, and January 2, 2023, Entropic sent DIRECTV
 12   another communication by both physical and electronic means regarding a separate
 13   license to Entropic’s patents for the field of the standardized networking technology
 14   commonly called MoCA, and also seeking to discuss with DIRECTV a typical non-
 15   disclosure agreement in order to share such information.
 16         228. The parties subsequently entered a non-disclosure agreement to permit
 17   licensing discussions. However, as of now DIRECTV has not taken a license to any
 18   patent owned by Entropic, including the Patents-in-Suit.
 19         229. In early February 2023, Entropic provided DIRECTV copies of claim
 20   charts illustrating DIRECTV’s patent infringement of each Asserted Patent by virtue
 21   of DIRECTV’s deployment of MoCA technology.
 22         230. As of at least February 17, 2023, DIRECTV has been on notice of
 23   Entropic’s assertions of infringement of the Asserted Patents.
 24                             JURISDICTION AND VENUE
 25         231. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331
 26   and 1338(a) because the claims herein arise under the patent laws of the United
 27   States, 35 U.S.C. § 1 et seq., including 35 U.S.C. § 271.
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  1         232. Venue in this Judicial District is proper under 28 U.S.C. § 1400(b)
  2   because DIRECTV has regular and established places of business in this District.
  3   DIRECTV, by itself and/or through its agents have committed acts of patent
  4   infringement within the State of California and in this Judicial District by making,
  5   importing, using, selling, offering for sale, and/or leasing the Accused MoCA
  6   Instrumentalities, as well as Accused Services employing the Accused MoCA
  7   Instrumentalities, that comply with one or more of MoCA 1.0, 1.1, and/or 2.0.
  8         233. This Court currently has before it another case involving the same
  9   parties that also concerns DIRECTV providing satellite television services to its
 10   customers, including those in this Judicial District. Entropic Comm’s. LLC v.
 11   DIRECTV LLC, Case No. 2:22-cv-07775-JWH-JEM (DIRECTV I CDCA). That co-
 12   pending matter was transferred to this Court from the Eastern District of Texas on
 13   October 26, 2022 on motion from the DIRECTV defendants, which alleged that such
 14   matter could have been properly brought originally in this Judicial District. See
 15   DIRECTV I CDCA, Dkt. No. 110.
 16         234. Venue in this Judicial District of California is proper pursuant to 28
 17   U.S.C. § 1400(b), because DIRECTV has regular and established places of business
 18   in this District, and have committed acts of patent infringement in this Judicial
 19   District. DIRECTV has committed acts of patent infringement within the State of
 20   California and in this Judicial District by making, using, selling, offering for sale,
 21   and/or leasing the Accused MoCA Instrumentalities, as well as Accused Services
 22   employing the Accused MoCA Instrumentalities, that comply with one or more of
 23   MoCA 1.0, 1.1, and/or 2.0.
 24         235. This Court has general personal jurisdiction over the DIRECTV
 25   defendants because the DIRECTV defendants conduct systematic and regular
 26   business within the State of California by, inter alia providing satellite television and
 27   internet services to businesses and residents throughout this State.
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  1         236. This Court has general personal jurisdiction over AT&T because AT&T
  2   conducts systematic and regular business within the State of California by, inter alia
  3   providing telephone, satellite television and internet services to businesses and
  4   residents throughout this State.
  5         237. The Court has specific personal jurisdiction over DIRECTV because it
  6   has committed acts of infringement within the State of California and this Judicial
  7   District through, for example, making infringing networks using the Accused MoCA
  8   Instrumentalities, and using the Accused MoCA Instrumentalities to provide the
  9   Accused Services in the State of California and this Judicial District.
 10         238. DIRECTV’s regular and established places of business within this
 11   District are used to conduct DIRECTV’s business, i.e. the development,
 12   maintenance, and provision of the Accused Services and Accused MoCA
 13   Instrumentalities.
 14         239. DIRECTV’s business in this Judicial District includes employing
 15   hardware and software engineers who developed and maintain the Accused MoCA
 16   Instrumentalities and related software.
 17         240. Upon information and belief, DIRECTV, by itself and/or through its
 18   agents offers various telecommunication services throughout the United States.
 19   DIRECTV operates and maintains a nationwide television and data network through
 20   which DIRECTV sells, leases, and offers for sale or lease products and services,
 21   including the Accused MoCA Instrumentalities, to businesses, consumers, and
 22   government agencies. DIRECTV offers to sell, sells, and provides DIRECTV
 23   branded products and services, including, set top boxes and digital video, audio, and
 24   other content services to customers. Subscribers to DIRECTV’s television services
 25   receive one or more receivers and/or set-top boxes, within this Judicial District.
 26         241. Upon information and belief, AT&T, by itself and/or through its agents
 27   has offered and continues to offer various “DIRECTV” branded telecommunication
 28   services throughout the United States. AT&T has operated and maintained a

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  1   nationwide television and data network through which AT&T sold, leased, offered
  2   for sale, sells, leases, and offered for sale and/or continues to do so, products and
  3   services, including the Accused MoCA Instrumentalities, to businesses, consumers,
  4   and government agencies. AT&T offers to sell, sells, and provides DIRECTV
  5   branded products and services, including, set top boxes and digital video, audio, and
  6   other content services to customers. Subscribers to the “DIRECTV” branded
  7   television services receive one or more receivers and/or set-top boxes, within this
  8   Judicial District.
  9          242. Upon information and belief, DIRECTV provides the Accused Services
 10   and Accused MoCA Instrumentalities throughout the United States and in this
 11   Judicial District.
 12          243. Upon information and belief, DIRECTV employs and/or contracts with
 13   persons and directs them to install, service, repair, and/or replace equipment, as
 14   appropriate, in this District.
 15          244. Venue is further proper because DIRECTV has committed and
 16   continues to commit acts of patent infringement in this Judicial District, including,
 17   making, using, importing, offering to sell, and/or selling Accused Services and
 18   Accused MoCA Instrumentalities, and MoCA networks, and thereafter providing
 19   Accused Services in this Judicial District, including by Internet sales and sales via
 20   retail and wholesale stores. Furthermore, for example, DIRECTV deploys Accused
 21   MoCA Instrumentalities to many thousands of locations (customer premises) in this
 22   Judicial District and subsequently, by means of those Accused MoCA
 23   Instrumentalities, uses the claimed inventions at those locations in this Judicial
 24   District. DIRECTV infringes by inducing and contributing to acts of patent
 25   infringement in this Judicial District and/or committing at least a portion of any other
 26   infringements alleged herein in this Judicial District.
 27          245. DIRECTV continues to conduct business in this Judicial District,
 28   including the acts and activities described in the preceding paragraph.

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  1         246. By virtue of AT&T’s prior ownership of the DIRECTV defendants,
  2   Entropic alleges that AT&T is liable for the DIRECTV defendants’ infringement
  3   below.
  4                                         COUNT I
  5                            (Infringement of the ’518 Patent)
  6         247. Entropic incorporates by reference each allegation of Paragraphs 1
  7   through 74.
  8         248. The ’518 Patent duly issued on November 13, 2007 from an application
  9   filed December 18, 2002, an application filed August 29, 2002 and, inter alia, a
 10   provisional application filed August 30, 2001.
 11         249. Entropic owns all substantial rights, interest, and title in and to the ’518
 12   Patent, including the sole and exclusive right to prosecute this action and enforce the
 13   ’518 Patent against infringers, and to collect damages for all relevant times.
 14         250. The ’518 Patent is generally directed to, inter alia, broadband local area
 15   data networks using on-premises coaxial cable wiring for interconnection of devices.
 16   Probe messages can be “sent between devices to characterize the communication
 17   channel and determine optimum bit loading” for communicating data between
 18   devices. ’518 Patent, Abstract. The ’518 Patent has four claims, of which claims 1
 19   and 4 are independent. At least these claims of the ’518 Patent are directed to the
 20   creation of the MoCA network using the on-premises coaxial cable wiring. A true
 21   and accurate copy of the ’518 Patent is attached hereto as Exhibit A.
 22         251. The ’518 Patent is directed to patent-eligible subject matter pursuant to
 23   35 U.S.C. § 101.
 24         252. The ’518 Patent is valid and enforceable, and presumed as such,
 25   pursuant to 35 U.S.C. § 282.
 26         253. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
 27   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
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  1   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
  2   DIRECTV HS17) in connection with operating and providing the Accused Services.
  3         254. The Accused MoCA Instrumentalities deployed by DIRECTV to
  4   customer premises remain the property of DIRECTV while deployed.
  5         255. The Accused MoCA Instrumentalities operate while deployed in a
  6   manner controlled and intended by DIRECTV.
  7         256. As set forth in the attached non-limiting claim chart (Exhibit B), any
  8   product or system operating in a MoCA network compliant with the charted
  9   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 1 of the
 10   ’518 Patent.
 11         257. Each aspect of the functioning of the Accused MoCA Instrumentalities
 12   described in the claim chart operates while deployed to customer premises in a
 13   manner controlled and intended by DIRECTV.
 14         258. DIRECTV provides no software, support or other facility to customers
 15   to modify any aspect of the functioning described in the claim chart of the Accused
 16   MoCA Instrumentalities while deployed to customer premises.
 17         259. The Accused MoCA Instrumentalities are compliant with the provisions
 18   of MoCA 1.0, 1.1., and/or 2.0, as described in the ’518 Patent claim chart, Exhibit B.
 19         260. DIRECTV therefore directly infringes at least claim 1 of the ’518 Patent
 20   by using the Accused MoCA Instrumentalities to provide Accused Services to
 21   customers.
 22         261. DIRECTV directly infringes at least claim 1 of the ’518 Patent when it,
 23   for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
 24   otherwise provide Accused Services.
 25         262. DIRECTV directly infringes at least claim 1 of the ’518 Patent by
 26   making, importing, selling, and/or offering for sale the Accused MoCA
 27   Instrumentalities in connection with providing the Accused Services over an
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  1   on-premises coaxial cable network, which meets each and every element of at least
  2   claim 1 of the ’518 Patent.
  3           263. DIRECTV had knowledge of the ’518 Patent no later than its receipt of
  4   Entropic’s communications sent to DIRECTV on March 9, 2022.
  5           264. DIRECTV has been aware that it infringes the ’518 Patent since at least
  6   as early as receipt of Entropic’s communications sent to DIRECTV on March 9,
  7   2022.
  8           265. DIRECTV has known of or has been willfully blind to the ’518 Patent
  9   since before the March 9, 2022 communications from Entropic.
 10           266. The ’518 Patent issued while or before DIRECTV was a member of
 11   MoCA.
 12           267. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 13   contributions related to MoCA technology, DIRECTV had knowledge of the ’518
 14   Patent before March 9, 2022 or was willfully blind to its existence.
 15           268. DIRECTV has been aware of its infringement of the ’518 Patent no later
 16   than February 17, 2023 when Entropic sent DIRECTV claim charts detailing the
 17   infringement of the ’518 Patent by MoCA technology, which is deployed by
 18   DIRECTV. The claim charts DIRECTV received approximately three months before
 19   the filing of this Complaint show that the claims of the ’518 Patent are essential to
 20   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
 21           269. The claims of the ’518 Patent are essential to practicing at least MoCA
 22   standards versions 1.0, 1.1, and/or 2.0.
 23           270. DIRECTV knew, or was willfully blind to the fact that the technology
 24   of the ’518 Patent directly relates to networking over coaxial cable, including MoCA,
 25   at least as early as DIRECTV became aware of the existence of the ’518 Patent.
 26   Because of its familiarity with, and access to, the MoCA standards, DIRECTV knew,
 27   or was willfully blind to the fact, that use (by DIRECTV or its customers) of
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  1   instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DIRECTV
  2   services would necessarily infringe one or more claims of the ’518 Patent.
  3            271. Since learning of the ’518 Patent and its infringing activities, DIRECTV
  4   has failed to cease its infringing activities.
  5            272. DIRECTV’s customers and subscribers directly infringe at least claim 1
  6   of the ’518 Patent by using the Accused MoCA Instrumentalities in connection with
  7   the Accused Services provided by DIRECTV.
  8            273. DIRECTV actively induces its customers’ and subscribers’ direct
  9   infringement by providing the Accused Services and associated support.
 10            274. For example, DIRECTV actively induces infringement of at least claim
 11   1 of the ’518 Patent by providing the Accused MoCA Instrumentalities to DIRECTV
 12   customers with specific instructions and/or assistance (including installation and
 13   maintenance) regarding the instantiation of a MoCA network and the use of the
 14   Accused MoCA Instrumentalities in a manner that infringes the ’518 Patent.
 15            275. DIRECTV aids, instructs, supports, and otherwise acts with, the intent
 16   to cause an end user to make and/or use the MoCA network and/or use the Accused
 17   MoCA Instrumentalities in a manner that infringes each and every element of at least
 18   claim 1 of the ’518 Patent.
 19            276. Additionally, DIRECTV contributes to the customers’ and subscribers’
 20   direct    infringement.   DIRECTV        provides   at   least   the   Accused   MoCA
 21   Instrumentalities that create and are at least substantially all of a MoCA network to
 22   be used to infringe at least claim 1 of the ’518 Patent.
 23            277. The Accused MoCA Instrumentalities have no substantial noninfringing
 24   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
 25   the Accused Services provided by DIRECTV, the end user necessarily directly
 26   infringes at least claim 1 of the ’518 Patent. The Accused MoCA Instrumentalities
 27   are therefore especially made or especially adapted for use in an infringing manner.
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  1         278. DIRECTV’s inducement of, and contribution to, the direct infringement
  2   of at least claim 1 of the ’518 Patent has been, and is, continuous and ongoing through
  3   the acts described above in connection with DIRECTV’s provision of the Accused
  4   Services.
  5         279. DIRECTV’s infringement of the ’518 Patent is, has been, and continues
  6   to be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s
  7   rights under the patent.
  8         280. Entropic has been damaged as a result of the infringing conduct alleged
  9   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
 10   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
 11   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 12         281. Upon information and belief there is no duty to mark any instrumentality
 13   with the ’518 Patent in accordance with 35 U.S.C. § 287.
 14                                         COUNT II
 15                              (Infringement of the ’249 Patent)
 16         282. Entropic incorporates by reference each allegation of Paragraphs 1
 17   through 109.
 18         283. The ’249 Patent duly issued on September 22, 2009 from an application
 19   filed July 21, 2001, and a provisional application filed May 4, 2001.
 20         284. Entropic owns all substantial rights, interest, and title in and to the ’249
 21   Patent, including the sole and exclusive right to prosecute this action and enforce the
 22   ’249 Patent against infringers, and to collect damages for all relevant times.
 23         285. The ’249 Patent is generally directed to, inter alia, broadband cable
 24   networks that allow devices to communicate directly over the existing coaxial cable
 25   with its current architecture without the need to modify the existing cable
 26   infrastructure. Each device communicates with the other devices in the network and
 27   establishes parameters to overcome channel impairments in the coaxial cable
 28   network. ’249 Patent, col. 3, lines 11–22. The ’249 Patent has 17 claims, of which

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  1   claims 1, 5, and 10 are independent. At least these claims of the ’249 Patent are
  2   directed to the creation of the MoCA network using the on-premises coaxial cable
  3   wiring. A true and accurate copy of the ’249 Patent is attached hereto as Exhibit C.
  4         286. The ’249 Patent is directed to patent-eligible subject matter pursuant to
  5   35 U.S.C. § 101.
  6         287. The ’249 Patent is valid and enforceable, and presumed as such,
  7   pursuant to 35 U.S.C. § 282.
  8         288. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
  9   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
 10   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
 11   DIRECTV HS17) in connection with operating and providing the Accused Services.
 12         289. The Accused MoCA Instrumentalities deployed by DIRECTV to
 13   customer premises remain the property of DIRECTV while deployed.
 14         290. The Accused MoCA Instrumentalities operate while deployed in a
 15   manner controlled and intended by DIRECTV.
 16         291. As set forth in the attached non-limiting claim chart (Exhibit D), any
 17   product or system operating in a MoCA network compliant with the charted
 18   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 10 of the
 19   ’249 Patent.
 20         292. Each aspect of the functioning of the Accused MoCA Instrumentalities
 21   described in the claim chart operates while deployed to customer premises in a
 22   manner controlled and intended by DIRECTV.
 23         293. DIRECTV provides no software, support or other facility to customers
 24   to modify any aspect of the functioning described in the claim chart of the Accused
 25   MoCA Instrumentalities while deployed to customer premises.
 26         294. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
 27   1.1., and/or 2.0, as described in the ’249 Patent claim chart, Exhibit D.
 28   ///

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  1         295. DIRECTV therefore directly infringes at least claim 10 of the ’249
  2   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
  3   customers.
  4         296. DIRECTV directly infringes at least claim 10 of the ’249 Patent when
  5   it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
  6   otherwise provide Accused Services.
  7         297. DIRECTV directly infringes at least claim 10 of the ’249 Patent by
  8   making, importing, selling, and/or offering for sale the Accused MoCA
  9   Instrumentalities in connection with providing the Accused Services over an
 10   on-premises coaxial cable network, which meets each and every element of at least
 11   claim 10 of the ’249 Patent.
 12         298. DIRECTV had knowledge of the ’249 Patent no later than its receipt of
 13   Entropic’s communications sent to DIRECTV on March 9, 2022.
 14         299. DIRECTV has been aware that it infringes the ’249 Patent no later than
 15   its receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
 16         300. DIRECTV has known of or has been willfully blind to the ’249 Patent
 17   since before the March 9, 2022 communications from Entropic.
 18         301. The ’249 Patent issued while or before DIRECTV was a member of
 19   MoCA.
 20         302. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 21   contributions related to MoCA technology, DIRECTV had knowledge of the ’249
 22   Patent before March 9, 2022 or was willfully blind to its existence.
 23         303. DIRECTV has been aware of its infringement of the ’249 Patent no later
 24   than February 17, 2023 when Entropic sent DIRECTV claim charts detailing the
 25   infringement of the ’249 Patent by MoCA technology, which is deployed by
 26   DIRECTV. The claim charts DIRECTV received approximately three months before
 27   the filing of this Complaint show that the claims of the ’249 Patent are essential to
 28   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.

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  1            304. The claims of the ’249 Patent are essential to practicing at least MoCA
  2   standards versions 1.0, 1.1, and/or 2.0.
  3            305. DIRECTV knew, or was willfully blind to the fact that the technology
  4   of the ’249 Patent directly relates to networking over coaxial cable, including MoCA,
  5   at least as early as DIRECTV became aware of the existence of the ’249 Patent.
  6   Because of its familiarity with, and access to, the MoCA standards, DIRECTV knew,
  7   or was willfully blind to the fact, that use (by DIRECTV or its customers) of
  8   instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DIRECTV
  9   services would necessarily infringe one or more claims of the ’249 Patent.
 10            306. Since learning of the ’249 Patent and its infringing activities, DIRECTV
 11   has failed to cease its infringing activities.
 12            307. DIRECTV’s customers and subscribers directly infringe at least claim
 13   10 of the ’249 Patent by using the Accused MoCA Instrumentalities in connection
 14   with the Accused Services provided by DIRECTV.
 15            308. DIRECTV actively induces its customers’ and subscribers’ direct
 16   infringement by providing the Accused Services and associated support.
 17            309. For example, DIRECTV actively induces infringement of at least claim
 18   10 of the ’249 Patent by providing the Accused MoCA Instrumentalities to
 19   DIRECTV customers with specific instructions and/or assistance (including
 20   installation and maintenance) regarding the instantiation of a MoCA network and the
 21   use of the Accused MoCA Instrumentalities in a manner that infringes the ’249
 22   Patent.
 23            310.   DIRECTV aids, instructs, supports, and otherwise acts with the intent
 24   to cause an end user to make and/or use the MoCA network and/or use the Accused
 25   MoCA Instrumentalities in a manner that infringes every element of at least claim 10
 26   of the ’249 Patent.
 27            311. Additionally, DIRECTV contributes to the customers’ and subscribers’
 28   direct    infringement.   DIRECTV        provides   at   least   the   Accused   MoCA

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  1   Instrumentalities that create and are at least substantially all of a MoCA network to
  2   be used to infringe at least claim 10 of the ’249 Patent.
  3         312. The Accused MoCA Instrumentalities have no substantial noninfringing
  4   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  5   the Accused Services provided by DIRECTV, the end user necessarily directly
  6   infringes at least claim 10 of the ’249 Patent. The Accused MoCA Instrumentalities
  7   are therefore especially made or especially adapted for use in an infringing manner.
  8         313. DIRECTV’s inducement of, and contribution to, the direct infringement
  9   of at least claim 10 of the ’249 Patent has been, and is, continuous and ongoing
 10   through the acts described above in connection with DIRECTV’s provision of the
 11   Accused Services.
 12         314. DIRECTV’s infringement of the ’249 Patent is, has been, and continues
 13   to be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s
 14   rights under the patent.
 15         315. Entropic has been damaged as a result of the infringing conduct alleged
 16   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
 17   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
 18   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 19         316. Entropic is aware of no obligation to mark any instrumentality with the
 20   ’249 Patent in accordance with 35 U.S.C. § 287.
 21                                        COUNT III
 22                              (Infringement of the ’759 Patent)
 23         317. Entropic incorporates by reference each allegation of Paragraphs 1
 24   through 144.
 25         318. The ’759 Patent duly issued on February 15, 2011 from an application
 26   filed July 12, 2004, an application filed August 29, 2002, and, inter alia a provisional
 27   application filed August 30, 2001.
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  1         319. Entropic owns all substantial rights, interest, and title in and to the ’759
  2   Patent, including the sole and exclusive right to prosecute this action and enforce the
  3   ’759 Patent against infringers, and to collect damages for all relevant times.
  4         320. The ’759 Patent is generally directed to, inter alia, broadband cable
  5   networks that allow devices to communicate directly over the existing coaxial cable
  6   with its current architecture without the need to modify the existing cable
  7   infrastructure. Each device communicates with the other devices in the network and
  8   establishes a common modulation scheme between the devices in the network. ’759
  9   Patent, Abstract. The ’759 Patent has 22 claims, of which claims 1–7, 14, 20–22 are
 10   independent. At least these claims of the ’759 Patent are directed to a variety of
 11   techniques for establishing a modulation scheme for communications between nodes
 12   in the MoCA network. A true and correct copy of the ’759 Patent is attached hereto
 13   as Exhibit E.
 14         321. The ’759 Patent is directed to patent-eligible subject matter pursuant to
 15   35 U.S.C. § 101.
 16         322. The ’759 Patent is valid and enforceable, and presumed as such,
 17   pursuant to 35 U.S.C. § 282.
 18         323. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
 19   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
 20   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
 21   DIRECTV HS17) in connection with operating and providing the Accused Services.
 22         324. The Accused MoCA Instrumentalities deployed by DIRECTV to
 23   customer premises remain the property of DIRECTV while deployed.
 24         325. The Accused MoCA Instrumentalities operate while deployed in a
 25   manner controlled and intended by DIRECTV.
 26         326. As set forth in the attached non-limiting claim chart (Exhibit F), any
 27   product or system operating in a MoCA network compliant with the charted
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  1   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 2 of the
  2   ’759 Patent.
  3         327. Each aspect of the functioning of the Accused MoCA Instrumentalities
  4   described in the claim chart operates while deployed to customer premises in a
  5   manner controlled and intended by DIRECTV.
  6         328. DIRECTV provides no software, support or other facility to customers
  7   to modify any aspect of the functioning described in the claim chart of the Accused
  8   MoCA Instrumentalities while deployed to customer premises.
  9         329. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
 10   1.1., and/or 2.0, as described in the ’759 Patent claim chart, Exhibit F.
 11         330. DIRECTV therefore directly infringes at least claim 2 of the ’759 Patent
 12   by using the Accused MoCA Instrumentalities to provide Accused Services to
 13   customers.
 14         331. DIRECTV sells the Accused Services to its customers and subscribers
 15   for a fee. Pursuant to the sale of these services, DIRECTV uses the method recited in
 16   at least claim 2 of the ’759 Patent to provide the Accused Services to DIRECTV’s
 17   customers and subscribers through the Accused MoCA Instrumentalities. DIRECTV
 18   is therefore engaging in the infringing use of at least claim 2 of the ’759 Patent in
 19   order to generate revenue from its customers and subscribers.
 20         332. DIRECTV directly infringes at least claim 2 of the ’759 Patent when it,
 21   for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
 22   otherwise provide Accused Services.
 23         333. DIRECTV had knowledge of the ’759 Patent no later than its receipt of
 24   Entropic’s communications sent to DIRECTV on March 9, 2022.
 25         334. DIRECTV has been aware that it infringes the ’759 Patent no later than
 26   its receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
 27         335. DIRECTV has known of or has been willfully blind to the ’759 Patent
 28   since before the March 9, 2022 communications from Entropic.

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  1          336. The ’759 Patent issued while or before DIRECTV was a member of
  2   MoCA.
  3          337. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
  4   contributions related to MoCA technology, DIRECTV had knowledge of the ’759
  5   Patent before March 9, 2022 or was willfully blind to its existence.
  6          338. DIRECTV has been aware of its infringement of the ’759 Patent no later
  7   than February 17, 2023 when Entropic sent DIRECTV claim charts detailing the
  8   infringement of the ’759 Patent by MoCA technology, which is deployed by
  9   DIRECTV. The claim charts DIRECTV received approximately three months before
 10   the filing of this Complaint show that the claims of the ’759 Patent are essential to
 11   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
 12          339. The claims of the ’759 Patent are essential to practicing at least MoCA
 13   standards versions 1.0, 1.1, and/or 2.0.
 14          340. DIRECTV knew, or was willfully blind to the fact that the technology
 15   of the ’759 Patent directly relates to networking over coaxial cable, including MoCA,
 16   at least as early as DIRECTV became aware of the existence of the ’759 Patent.
 17   Because of its familiarity with, and access to, the MoCA standards, DIRECTV knew,
 18   or was willfully blind to the fact, that use (by DIRECTV or its customers) of
 19   instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DIRECTV
 20   services would necessarily infringe one or more claims of the ’759 Patent.
 21          341. Since learning of the ’759 Patent and its infringing activities, DIRECTV
 22   has failed to cease its infringing activities.
 23          342. DIRECTV’s customers and subscribers directly infringe at least claim 2
 24   of the ’759 Patent by using the Accused MoCA Instrumentalities in connection with
 25   the Accused Services provided by DIRECTV.
 26          343. DIRECTV actively induces its customers’ and subscribers’ direct
 27   infringement by providing the Accused Services and associated support.
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  1            344. For example, DIRECTV actively induces infringement of at least claim
  2   2 of the ’759 Patent by providing the Accused MoCA Instrumentalities to DIRECTV
  3   customers with specific instructions and/or assistance (including installation and
  4   maintenance) regarding the instantiation of a MoCA network and the use of the
  5   Accused MoCA Instrumentalities to infringe the ’759 Patent.
  6            345. DIRECTV aids, instructs, supports, and otherwise acts with the intent
  7   to cause an end user to make and/or use the MoCA network and/or use the Accused
  8   MoCA Instrumentalities to infringe every element of at least claim 2 of the ’759
  9   Patent.
 10            346. Additionally, DIRECTV contributes to the customers’ and subscribers’
 11   direct    infringement.    DIRECTV     provides    at   least   the   Accused   MoCA
 12   Instrumentalities that create and are at least substantially all of a MoCA network to
 13   be used to infringe at least claim 2 of the ’759 Patent.
 14            347. The Accused MoCA Instrumentalities have no substantial noninfringing
 15   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
 16   the Accused Services provided by DIRECTV, the end user necessarily directly
 17   infringes at least claim 2 of the ’759 Patent. The Accused MoCA Instrumentalities
 18   are therefore especially made or especially adapted for use in an infringing manner.
 19            348. DIRECTV’s inducement of, and contribution to, the direct infringement
 20   of at least claim 2 of the ’759 Patent has been, and is, continuous and ongoing through
 21   the acts described above in connection with DIRECTV’s provision of the Accused
 22   Services.
 23            349. DIRECTV’s infringement of the ’759 Patent is, has been, and continues
 24   to be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s
 25   rights under the patent.
 26            350. Entropic has been damaged as a result of the infringing conduct alleged
 27   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
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  1   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
  2   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
  3         351. Upon information and belief, there is no duty to mark any
  4   instrumentality with the ’759 Patent in accordance with 35 U.S.C. § 287.
  5                                        COUNT IV
  6                            (Infringement of the ’802 Patent)
  7         352. Entropic incorporates by reference each allegation of Paragraphs 1
  8   through 179.
  9         353. The ’802 Patent duly issued on December 27, 2011 from an application
 10   filed December 2, 2005 and a provisional application filed December 2, 2004.
 11         354. Entropic owns all substantial rights, interest, and title in and to the ’802
 12   Patent, including the sole and exclusive right to prosecute this action and enforce the
 13   ’802 Patent against infringers, and to collect damages for all relevant times.
 14         355. The ’802 Patent is generally directed to, inter alia, broadband cable
 15   networks that allow devices to communicate directly over the existing coaxial cable
 16   with its current architecture without the need to modify the existing cable
 17   infrastructure. Each device communicates with the other devices in the network and
 18   establishes the best modulation and other transmission parameters that is optimized
 19   and periodically adapted to the channel between each pair of devices. ’802 Patent,
 20   col. 4, lines 7–24. The ’802 Patent has four claims, all of which are independent. At
 21   least these claims of the ’802 Patent are directed to a variety of techniques for
 22   establishing a modulation scheme for communications between nodes in the MoCA
 23   network. A true and accurate copy of the ’802 Patent is attached hereto as Exhibit G.
 24         356. The ’802 Patent is directed to patent-eligible subject matter pursuant to
 25   35 U.S.C. § 101.
 26         357. The ’802 Patent is valid and enforceable, and presumed as such,
 27   pursuant to 35 U.S.C. § 282.
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  1         358. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
  2   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
  3   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
  4   DIRECTV HS17) in connection with operating and providing the Accused Services.
  5         359. The Accused MoCA Instrumentalities deployed by DIRECTV to
  6   customer premises remain the property of DIRECTV while deployed.
  7         360. The Accused MoCA Instrumentalities operate while deployed in a
  8   manner controlled and intended by DIRECTV.
  9         361. As set forth in the attached non-limiting claim chart (Exhibit H), any
 10   product or system operating in a MoCA network compliant with the charted
 11   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 3 of the
 12   ’802 Patent.
 13         362. Each aspect of the functioning of the Accused MoCA Instrumentalities
 14   described in the claim chart operates while deployed to customer premises in a
 15   manner controlled and intended by DIRECTV.
 16         363. DIRECTV provides no software, support or other facility to customers
 17   to modify any aspect of the functioning described in the claim chart of the Accused
 18   MoCA Instrumentalities while deployed to customer premises.
 19         364. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
 20   1.1., and/or 2.0, as described in the ’802 Patent claim chart, Exhibit H.
 21         365. DIRECTV therefore directly infringes at least claim 3 of the ’802 Patent
 22   by using the Accused MoCA Instrumentalities to provide Accused Services to
 23   customers.
 24         366. DIRECTV sells the Accused Services to its customers and subscribers
 25   for a fee. Pursuant to the sale of these services, DIRECTV uses the method recited in
 26   at least claim 3 of the ’802 Patent to provide the Accused Services to DIRECTV’s
 27   customers and subscribers through the Accused MoCA Instrumentalities. DIRECTV
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  1   is therefore engaging in the infringing use of at least claim 3 of the ’802 Patent in
  2   order to generate revenue from its customers and subscribers.
  3         367. DIRECTV directly infringes at least claim 3 of the ’802 Patent when it,
  4   for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
  5   otherwise provide Accused Services and/or the Accused MoCA Instrumentalities.
  6         368. DIRECTV had knowledge of the ’802 Patent no later than its receipt of
  7   Entropic’s communications sent to DIRECTV on March 9, 2022.
  8         369. DIRECTV has been aware that it infringes the ’802 Patent no later than
  9   its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
 10         370. DIRECTV has known of or has been willfully blind to the ’802 Patent
 11   since before the March 9, 2022 communications from Entropic.
 12         371. The ’802 Patent issued while or before DIRECTV was a member of
 13   MoCA.
 14         372. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 15   contributions related to MoCA technology, DIRECTV had knowledge of the ’802
 16   Patent before March 9, 2022 or was willfully blind to its existence.
 17         373. DIRECTV has been aware of its infringement of the ’802 Patent no later
 18   than February 17, 2023 when Entropic sent DIRECTV claim charts detailing the
 19   infringement of the ’802 Patent by MoCA technology, which is deployed by
 20   DIRECTV. The claim charts DIRECTV received approximately three months before
 21   the filing of this Complaint show that the claims of the ’802 Patent are essential to
 22   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
 23         374. The claims of the ’802 Patent are essential to practicing at least MoCA
 24   standards versions 1.0, 1.1, and/or 2.0.
 25         375. DIRECTV knew, or was willfully blind to the fact that the technology
 26   of the ’802 Patent directly relates to networking over coaxial cable, including MoCA,
 27   at least as early as DIRECTV became aware of the existence of the ’802 Patent.
 28   Because of its familiarity with, and access to, the MoCA standards, DIRECTV knew,

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  1   or was willfully blind to the fact, that use (by DIRECTV or its customers) of
  2   instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DIRECTV
  3   services would necessarily infringe one or more claims of the ’802 Patent.
  4            376. Since learning of the ’802 Patent and its infringing activities, DIRECTV
  5   has failed to cease its infringing activities.
  6            377. DIRECTV’s customers and subscribers directly infringe at least claim 3
  7   of the ’802 Patent by using the Accused MoCA Instrumentalities in connection with
  8   the Accused Services provided by DIRECTV.
  9            378. DIRECTV actively induces its customers’ and subscribers’ direct
 10   infringement by providing the Accused Services and associated support.
 11            379. For example, DIRECTV actively induces infringement of at least claim
 12   3 of the ’802 Patent by providing the Accused MoCA Instrumentalities to DIRECTV
 13   customers with specific instructions and/or assistance (including installation and
 14   maintenance) regarding the instantiation of a MoCA network and the use of the
 15   Accused MoCA Instrumentalities to infringe the ’802 Patent.
 16            380. DIRECTV aids, instructs, supports, and otherwise acts with the intent
 17   to cause an end user to make and/or use the MoCA network and/or use the Accused
 18   MoCA Instrumentalities to infringe every element of at least claim 3 of the ’802
 19   Patent.
 20            381. Additionally, DIRECTV contributes to the customers’ and subscribers’
 21   direct    infringement.   DIRECTV        provides   at   least   the   Accused   MoCA
 22   Instrumentalities that create and are at least substantially all of a MoCA network to
 23   be used to infringe at least claim 3 of the ’802 Patent.
 24            382. The Accused MoCA Instrumentalities have no substantial noninfringing
 25   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
 26   the Accused Services provided by DIRECTV, the end user necessarily directly
 27   infringes at least claim 3 of the ’802 Patent. The Accused MoCA Instrumentalities
 28   are therefore especially made or especially adapted for use in an infringing manner.

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  1         383. DIRECTV’s inducement of, and contribution to, the direct infringement
  2   of at least claim 3 of the ’802 Patent has been, and is, continuous and ongoing through
  3   the acts described above in connection with DIRECTV’s provision of the Accused
  4   Services.
  5         384. DIRECTV’s infringement of the ’802 Patent is, has been, and continues
  6   to be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s
  7   rights under the patent.
  8         385. Entropic has been damaged as a result of the infringing conduct alleged
  9   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
 10   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
 11   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 12         386. Upon information and belief, there is no duty to mark any
 13   instrumentality with the ’802 Patent in accordance with 35 U.S.C. § 287.
 14                                         COUNT V
 15                              (Infringement of the ’450 Patent)
 16         387. Entropic incorporates by reference each allegation of Paragraphs 1
 17   through 214.
 18         388. The ’450 Patent duly issued on January 14, 2014, from an application
 19   filed September 19, 2005, and, inter alia, a provisional application filed December
 20   2, 2004.
 21         389. Entropic owns all substantial rights, interest, and title in and to the ’450
 22   Patent, including the sole and exclusive right to prosecute this action and enforce the
 23   ’450 Patent against infringers, and to collect damages for all relevant times.
 24         390. The ’450 Patent is generally directed to, inter alia, broadband cable
 25   networks that allow devices to communicate directly over the existing coaxial cable
 26   with its current architecture without the need to modify the existing cable
 27   infrastructure. Each device communicates with the other devices in the network and
 28   establishes a common modulation scheme between the devices in the network. ’450

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  1   Patent, col. 4, lines 12-28. The ’450 Patent has 38 claims, of which, claim 1, 8, 27,
  2   29, and 34 are independent. At least these claims of the ’450 Patent are directed to a
  3   variety of techniques for determining a common modulation scheme for
  4   communications between nodes in the MoCA network. A true and accurate copy of
  5   the ’450 Patent is attached hereto as Exhibit I.
  6         391. The ’450 Patent is directed to patent-eligible subject matter pursuant to
  7   35 U.S.C. § 101.
  8         392. The ’450 Patent is valid and enforceable, and presumed as such,
  9   pursuant to 35 U.S.C. § 282.
 10         393. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
 11   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
 12   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
 13   DIRECTV HS17) in connection with operating and providing the Accused Services.
 14         394. The Accused MoCA Instrumentalities deployed by DIRECTV to
 15   customer premises remain the property of DIRECTV while deployed.
 16         395. The Accused MoCA Instrumentalities operate while deployed in a
 17   manner controlled and intended by DIRECTV.
 18         396. As set forth in the attached non-limiting claim chart (Exhibit J), any
 19   product or system operating in a MoCA network compliant with the charted
 20   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 29 of the
 21   ’450 Patent.
 22         397. Each aspect of the functioning of the Accused MoCA Instrumentalities
 23   described in the claim chart operates while deployed to customer premises in a
 24   manner controlled and intended by DIRECTV.
 25         398. DIRECTV provides no software, support or other facility to customers
 26   to modify any aspect of the functioning described in the claim chart of the Accused
 27   MoCA Instrumentalities while deployed to customer premises.
 28   ///

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  1         399. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
  2   1.1., and/or 2.0, as described in the ’450 Patent claim chart, Exhibit J.
  3         400. DIRECTV therefore directly infringes at least claim 29 of the ’450
  4   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
  5   customers.
  6         401. DIRECTV sells the Accused Services to its customers and subscribers
  7   for a fee. Pursuant to the sale of these services, DIRECTV uses the method recited in
  8   at least claim 29 of the ’450 Patent to provide the Accused Services to DIRECTV’s
  9   customers and subscribers through the Accused MoCA Instrumentalities. DIRECTV
 10   is therefore engaging in the infringing use of at least claim 29 of the ’450 Patent in
 11   order to generate revenue from its customers and subscribers.
 12         402. DIRECTV directly infringes at least claim 29 of the ’450 Patent when
 13   it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
 14   otherwise provide Accused Services.
 15         403. DIRECTV had knowledge of the ’450 Patent no later than its receipt of
 16   Entropic’s communications sent to DIRECTV on March 9, 2022.
 17         404. DIRECTV has been aware that it infringes the ’450 Patent no later than
 18   its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
 19         405. DIRECTV has known of or has been willfully blind to the ’450 Patent
 20   since before the March 9, 2022 communications from Entropic.
 21         406. The ’450 Patent issued while or before DIRECTV was a member of
 22   MoCA.
 23         407. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 24   contributions related to MoCA technology, DIRECTV had knowledge of the ’450
 25   Patent before March 9, 2022 or was willfully blind to its existence.
 26         408. DIRECTV has been aware of its infringement of the ’450 Patent no later
 27   than February 17, 2023 when Entropic sent DIRECTV claim charts detailing the
 28   infringement of the ’450 Patent by MoCA technology, which is deployed by

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  1   DIRECTV. The claim charts DIRECTV received approximately three months before
  2   the filing of this Complaint show that the claims of the ’450 Patent are essential to
  3   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
  4          409. The claims of the ’450 Patent are essential to practicing at least MoCA
  5   standards versions 1.0, 1.1, and/or 2.0.
  6          410. DIRECTV knew, or was willfully blind to the fact that the technology
  7   of the ’450 Patent directly relates to networking over coaxial cable, including MoCA,
  8   at least as early as DIRECTV became aware of the existence of the ’450 Patent.
  9   Because of its familiarity with, and access to, the MoCA standards, DIRECTV knew,
 10   or was willfully blind to the fact, that use (by DIRECTV or its customers) of
 11   instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DIRECTV
 12   services would necessarily infringe one or more claims of the ’450 Patent.
 13          411. Since learning of the ’450 Patent and its infringing activities, DIRECTV
 14   has failed to cease its infringing activities.
 15          412. DIRECTV’s customers and subscribers directly infringe at least claim
 16   29 of the ’450 Patent by using the Accused MoCA Instrumentalities in connection
 17   with the Accused Services provided by DIRECTV.
 18          413. DIRECTV actively induces its customers’ and subscribers’ direct
 19   infringement by providing the Accused Services and associated support.
 20          414. For example, DIRECTV actively induces infringement of at least claim
 21   29 of the ’450 Patent by providing the Accused MoCA Instrumentalities to
 22   DIRECTV customers with specific instructions and/or assistance (including
 23   installation and maintenance) regarding the instantiation of a MoCA network and the
 24   use of the Accused MoCA Instrumentalities to infringe the ’450 Patent.
 25          415. DIRECTV aids, instructs, supports, and otherwise acts with the intent
 26   to cause an end user to make and/or use the MoCA network and/or use the Accused
 27   MoCA Instrumentalities to infringe every element of at least claim 29 of the ’450
 28   Patent.

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  1            416. Additionally, DIRECTV contributes to the customers’ and subscribers’
  2   direct    infringement.    DIRECTV     provides   at   least   the   Accused     MoCA
  3   Instrumentalities that create and are at least substantially all of a MoCA network to
  4   be used to infringe at least claim 29 of the ’450 Patent.
  5            417. The Accused MoCA Instrumentalities have no substantial noninfringing
  6   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  7   the Accused Services provided by DIRECTV, the end user directly infringes at least
  8   claim 29 of the ’450 Patent. The Accused MoCA Instrumentalities are especially
  9   made or especially adapted for use in an infringing manner.
 10            418. DIRECTV’s inducement of, and contribution to, the direct infringement
 11   of at least claim 29 of the ’450 Patent has been, and is, continuous and ongoing
 12   through the acts described above in connection with DIRECTV’s provision of the
 13   Accused Services.
 14            419. DIRECTV’s infringement of the ’450 Patent is, has been, and continues
 15   to be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s
 16   rights under the patent.
 17            420. Entropic has been damaged as a result of the infringing conduct alleged
 18   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
 19   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
 20   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 21            421.   Upon information and belief, there is no duty to mark any
 22   instrumentality with the ’450 Patent in accordance with 35 U.S.C. § 287.
 23   ///
 24   ///
 25   ///
 26   ///
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  1                                          COUNT VI
  2                            (Infringement of the ’7,566 Patent) 5
  3            422. Entropic incorporates by reference each allegation of Paragraphs 1
  4   through 249.
  5            423. The ’7,566 Patent duly issued on April 9, 2019 from an application filed
  6   February 7, 2017 and an application filed September 19, 2005, and inter alia, a
  7   provisional application filed December 2, 2004.
  8            424. Entropic owns all substantial rights, interest, and title in and to the
  9   ’7,566 Patent, including the sole and exclusive right to prosecute this action and
 10   enforce the ’7,566 Patent against infringers, and to collect damages for all relevant
 11   times.
 12            425. The ’7,566 Patent uses the claimed controller to form, manage, and
 13   optimize mesh networks over coaxial cable, thereby allowing nodes to communicate
 14   efficiently with each other. Id. at col. 3, lines 21-24; col. 4, lines 22-42. This invention
 15   resulted in creating the ability for set top boxes to communicate with one another
 16   over coaxial cable networks. ’7,566 Patent, col. 3, lines 39-46. The ’7,566 Patent is
 17   generally directed to, inter alia, broadband cable networks that allow devices to
 18   communicate directly over the existing coaxial cable with its current architecture
 19   without the need to modify the existing cable infrastructure. Each device
 20   communicates with the other devices in the network and establishes the best
 21   modulation and other transmission parameters that is optimized and periodically
 22   adapted to the channel between each pair of devices. ’7,566 Patent, col. 4, lines 23–
 23   39. The ’7,566 Patent has 20 claims, of which claims 1, 11, and 19 are independent.
 24   At least these claims of the ’7,566 Patent are directed to a variety of techniques for
 25
 26
 27
      5
       The parties are discussing how they intend to proceed with respect to the ’7,566
      Patent. Entropic has included these allegations from the Original Complaint
 28   pending the result of those discussions.
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  1   controlling the admission of nodes in the MoCA network. A true and accurate copy
  2   of the ’7,566 Patent is attached hereto as Exhibit K.
  3         426. The ’7,566 Patent is directed to patent-eligible subject matter pursuant
  4   to 35 U.S.C. § 101.
  5         427. The ’7,566 Patent is valid and enforceable, and presumed as such,
  6   pursuant to 35 U.S.C. § 282.
  7         428. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
  8   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
  9   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
 10   DIRECTV HS17) in connection with operating and providing the Accused Services.
 11         429. The Accused MoCA Instrumentalities deployed by DIRECTV to
 12   customer premises remain the property of DIRECTV while deployed.
 13         430. The Accused MoCA Instrumentalities operate while deployed in a
 14   manner controlled and intended by DIRECTV.
 15         431. As set forth in the attached non-limiting claim chart (Exhibit L), any
 16   product or system operating in a MoCA network compliant with the charted
 17   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 11 of the
 18   ’7,566 Patent.
 19         432. Each aspect of the functioning of the Accused MoCA Instrumentalities
 20   described in the claim chart operates while deployed to customer premises in a
 21   manner controlled and intended by DIRECTV.
 22         433. DIRECTV provides no software, support or other facility to customers
 23   to modify any aspect of the functioning described in the claim chart of the Accused
 24   MoCA Instrumentalities while deployed to customer premises.
 25         434. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
 26   1.1., and/or 2.0, as described in the ’7,566 Patent claim chart, Exhibit L.
 27   ///
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  1         435. DIRECTV therefore directly infringes at least claim 11 of the ’7,566
  2   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
  3   customers.
  4         436. DIRECTV directly infringes at least claim 11 of the ’7,566 Patent when
  5   it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
  6   otherwise provide Accused Services and/or the Accused MoCA Instrumentalities.
  7         437. DIRECTV directly infringes at least claim 11 of the ’7,566 Patent by
  8   making, importing, selling, and/or offering for sale the Accused MoCA
  9   Instrumentalities, which meet every element of at least claim 11 of the ’7,566 Patent,
 10   in connection with providing the Accused Services over an on-premises coaxial cable
 11   network.
 12         438. DIRECTV had knowledge of the ’7,566 Patent no later than its receipt
 13   of Entropic’s communications sent to DIRECTV on March 9, 2022.
 14         439. DIRECTV has been aware that it infringes the ’7,566 Patent no later
 15   than its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
 16         440. DIRECTV has known of or has been willfully blind to the ’7,566 Patent
 17   since before the March 9, 2022 communications from Entropic.
 18         441. The ’7,566 Patent issued while or before DIRECTV was a member of
 19   MoCA.
 20         442. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 21   contributions related to MoCA technology, DIRECTV had knowledge of the ’7,566
 22   Patent before March 9, 2022 or was willfully blind to its existence.
 23         443. DIRECTV has been aware of its infringement of the ’7,566 Patent no
 24   later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
 25   the infringement of the ’7,566 Patent by MoCA technology, which is deployed by
 26   DIRECTV. The claim charts DIRECTV received approximately three months before
 27   the filing of this Complaint show that the claims of the ’7,566 Patent are essential to
 28   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.

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  1         444. The claims of the ’7,566 Patent are essential to practicing at least MoCA
  2   standards versions 1.0, 1.1, and/or 2.0.
  3         445. DIRECTV knew, or was willfully blind to the fact that the technology
  4   of the ’7,566 Patent directly relates to networking over coaxial cable, including
  5   MoCA, at least as early as DIRECTV became aware of the existence of the ’7,566
  6   Patent. Because of its familiarity with, and access to, the MoCA standards,
  7   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
  8   customers) of instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver
  9   DIRECTV services would necessarily infringe one or more claims of the ’7,566
 10   Patent.
 11         446. Since learning of the ’7,566 Patent and its infringing activities,
 12   DIRECTV has failed to cease its infringing activities.
 13         447. DIRECTV’s customers and subscribers directly infringe at least claim
 14   11 of the ’7,566 Patent by using the Accused MoCA Instrumentalities in connection
 15   with the Accused Services provided by DIRECTV.
 16         448. DIRECTV actively induces its customers’ and subscribers’ direct
 17   infringement by providing the Accused Services through the Accused MoCA
 18   Instrumentalities, and associated support.
 19         449. For example, DIRECTV actively induces infringement of at least claim
 20   11 of the ’7,566 Patent by providing the Accused MoCA Instrumentalities to
 21   DIRECTV customers with specific instructions and/or assistance (including
 22   installation and maintenance) regarding the instantiation of a MoCA network and the
 23   use of the Accused MoCA Instrumentalities to infringe the ’7,566 Patent.
 24         450. DIRECTV aids, instructs, supports, and otherwise acts with the intent
 25   to cause an end user to make and/or use the MoCA network and/or use the Accused
 26   MoCA Instrumentalities to infringe every element of at least claim 11 of the ’7,566
 27   Patent.
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  1         451. Additionally, DIRECTV contributes to the customers’ and subscribers’
  2   direct infringement. DIRECTV provides, inter alia, the Accused MoCA
  3   Instrumentalities designed and configured to create a MoCA network and operate as
  4   nodes in the network, the use of which infringes at least claim 11 of the ’7,566 Patent.
  5         452. The Accused MoCA Instrumentalities have no substantial noninfringing
  6   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  7   the Accused Services provided by DIRECTV, the end user directly infringes at least
  8   claim 11 of the ’7,566 Patent. The Accused MoCA Instrumentalities are therefore
  9   especially made or especially adapted for use in an infringing manner.
 10         453. DIRECTV’s inducement of, and contribution to, the direct infringement
 11   of at least claim 11 of the ’7,566 Patent has been, and is, continuous and ongoing
 12   through the acts described above in connection with DIRECTV’s provision of the
 13   Accused Services.
 14         454. DIRECTV’s infringement of the ’7,566 Patent is, has been, and
 15   continues to be willful, intentional, deliberate, and/or in conscious disregard for
 16   Entropic’s rights under the patent.
 17         455. Entropic has been damaged as a result of the infringing conduct alleged
 18   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
 19   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
 20   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 21         456. Entropic is aware of no obligation to mark any instrumentality with the
 22   ’7,566 Patent in accordance with 35 U.S.C. § 287.
 23                                         COUNT VII
 24                            (Infringement of the ’539 Patent)
 25         457. Entropic incorporates by reference each allegation of Paragraphs 1
 26   through 284.
 27   ///
 28   ///

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  1           458. The ’539 Patent duly issued on December 31, 2013 from an application
  2   filed September 29, 2005 and, inter alia, a provisional application filed December 2,
  3   2004.
  4           459. Entropic owns all substantial rights, interest, and title in and to the ’539
  5   Patent, including the sole and exclusive right to prosecute this action and enforce the
  6   ’539 Patent against infringers, and to collect damages for all relevant times.
  7           460. The ’539 Patent is generally directed to, inter alia, a physical layer
  8   transmitter that performs all of the necessary RF, analog and digital processing
  9   required for transmitting MAC messages between devices in a broadband cable
 10   network. ’539 Patent, col. 4, lines 37–48. The ’539 Patent has seven claims, of which
 11   claim 1 is independent. At least this claim of the ’539 Patent is directed at a variety
 12   of techniques for monitoring and maintaining utilized modulation profiles in the
 13   MoCA network. A true and accurate copy of the ’539 Patent is attached hereto as
 14   Exhibit M.
 15           461. The ’539 Patent is directed to patent-eligible subject matter pursuant to
 16   35 U.S.C. § 101.
 17           462. The ’539 Patent is valid and enforceable, and presumed as such,
 18   pursuant to 35 U.S.C. § 282.
 19           463. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
 20   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
 21   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
 22   DIRECTV HS17) in connection with operating and providing the Accused Services.
 23           464. The Accused MoCA Instrumentalities deployed by DIRECTV to
 24   customer premises remain the property of DIRECTV while deployed.
 25           465. The Accused MoCA Instrumentalities operate while deployed in a
 26   manner controlled and intended by DIRECTV.
 27           466. As set forth in the attached non-limiting claim chart (Exhibit N), any
 28   product or system operating in a MoCA network compliant with the charted

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  1   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 1 of the
  2   ’539 Patent.
  3         467. Each aspect of the functioning of the Accused MoCA Instrumentalities
  4   described in the claim chart operates while deployed to customer premises in a
  5   manner controlled and intended by DIRECTV.
  6         468. DIRECTV provides no software, support or other facility to customers
  7   to modify any aspect of the functioning described in the claim chart of the Accused
  8   MoCA Instrumentalities while deployed to customer premises.
  9         469. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
 10   1.1., and/or MoCA 2.0, as described in the ’539 Patent claim chart, Exhibit N.
 11         470. DIRECTV therefore directly infringes at least claim 1 of the ’539 Patent
 12   by using the Accused MoCA Instrumentalities to provide Accused Services to
 13   customers.
 14         471. DIRECTV directly infringes at least claim 1 of the ’539 Patent when it,
 15   for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
 16   otherwise provide Accused Services.
 17         472. DIRECTV directly infringes at least claim 1 of the ’539 Patent by
 18   making, importing, selling, and/or offering for sale the Accused MoCA
 19   Instrumentalities, which meet every element of at least claim 1 of the ’539 Patent, in
 20   connection with providing the Accused Services over an on-premises coaxial cable
 21   network.
 22         473. DIRECTV had knowledge of the ’539 Patent no later than its receipt of
 23   Entropic’s communications sent to DIRECTV on March 9, 2022.
 24         474. DIRECTV has been aware that it infringes the ’539 Patent no later than
 25   its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
 26         475. DIRECTV has known of or has been willfully blind to the ’539 Patent
 27   since before the March 9, 2022 communications from Entropic.
 28   ///

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  1          476. The ’539 Patent issued while or before DIRECTV was a member of
  2   MoCA.
  3          477. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
  4   contributions related to MoCA technology, DIRECTV had knowledge of the ’539
  5   Patent before March 9, 2022 or was willfully blind to its existence.
  6          478. DIRECTV has been aware of its infringement of the ’539 Patent no later
  7   than February 17, 2023 when Entropic sent DIRECTV claim charts detailing the
  8   infringement of the ’539 Patent by MoCA technology, which is deployed by
  9   DIRECTV. The claim charts DIRECTV received approximately three months before
 10   the filing of this Complaint show that the claims of the ’539 Patent are essential to
 11   practicing at least MoCA standards versions 1.0, 1.1, and/or 2.0.
 12          479. The claims of the ’539 Patent are essential to practicing at least MoCA
 13   standards versions 1.0, 1.1, and/or 2.0.
 14          480. DIRECTV knew, or was willfully blind to the fact that the technology
 15   of the ’539 Patent directly relates to networking over coaxial cable, including MoCA,
 16   at least as early as DIRECTV became aware of the existence of the ’539 Patent.
 17   Because of its familiarity with, and access to, the MoCA standards, DIRECTV knew,
 18   or was willfully blind to the fact, that use (by DIRECTV or its customers) of
 19   instrumentalities compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DIRECTV
 20   services would necessarily infringe one or more claims of the ’539 Patent.
 21          481. Since learning of the ’539 Patent and its infringing activities, DIRECTV
 22   has failed to cease its infringing activities.
 23          482. DIRECTV’s customers and subscribers directly infringe at least claim 1
 24   of the ’539 Patent by using the Accused MoCA Instrumentalities in connection with
 25   the Accused Services provided by DIRECTV.
 26          483. DIRECTV actively induces its customers’ and subscribers’ direct
 27   infringement by providing the Accused Services through the Accused MoCA
 28   Instrumentalities, and associated support.

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  1         484. For example, DIRECTV actively induces infringement of at least claim
  2   1 of the ’539 Patent by providing the Accused MoCA Instrumentalities to DIRECTV
  3   customers with specific instructions and/or assistance (including installation and
  4   maintenance) regarding the instantiation of a MoCA network and the use of the
  5   Accused MoCA Instrumentalities to infringe the ’539 Patent.
  6         485. DIRECTV aids, instructs, supports, and otherwise acts with the intent
  7   to cause an end user to make and/or use the MoCA network and/or use the Accused
  8   MoCA Instrumentalities to infringe every element of at least claim 1 of the ’539
  9   Patent.
 10         486. Additionally, DIRECTV contributes to the customers’ and subscribers’
 11   direct infringement. DIRECTV provides, inter alia, the Accused MoCA
 12   Instrumentalities designed and configured to create a MoCA network and operate as
 13   nodes in the network, the use of which infringes at least claim 1 of the ’539 Patent.
 14         487. The Accused MoCA Instrumentalities have no substantial noninfringing
 15   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
 16   the Accused Services provided by DIRECTV, the end user directly infringes at least
 17   claim 1 of the ’539 Patent. The Accused MoCA Instrumentalities are therefore
 18   especially made or especially adapted for use in an infringing manner.
 19         488. DIRECTV’s inducement of, and contribution to, the direct infringement
 20   of at least claim 1 of the ’539 Patent has been, and is, continuous and ongoing through
 21   the acts described above in connection with DIRECTV’s provision of the Accused
 22   Services.
 23         489. DIRECTV’s infringement of the ’539 Patent is, has been, and continues
 24   to be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s
 25   rights under the patent.
 26         490. Entropic has been damaged as a result of the infringing conduct alleged
 27   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
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  1   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
  2   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
  3           491. Entropic is aware of no obligation to mark any instrumentality with the
  4   ’539 Patent in accordance with 35 U.S.C. § 287.
  5                                        COUNT VIII
  6                             (Infringement of the ’213 Patent)
  7           492. Entropic incorporates by reference each allegation of Paragraphs 1
  8   through 319.
  9           493. The ’213 Patent duly issued on December 5, 2017 from an application
 10   filed February 6, 2008, and, inter alia, a provisional application filed on February 6
 11   2007.
 12           494. Entropic owns all substantial rights, interest, and title in and to the ’213
 13   Patent, including the sole and exclusive right to prosecute this action and enforce the
 14   ’213 Patent against infringers, and to collect damages for all relevant times.
 15           495. The ’213 Patent is generally directed to, inter alia, low-cost and high-
 16   speed management of resources within a network in order to secure the capability to
 17   distribute multimedia data (such as video/audio, games, images, generic data, and
 18   interactive services) between devices within existing on-premises coaxial cable
 19   networks. ’213 Patent, col. 3, lines 46–53. The ’213 Patent has 24 claims, of which
 20   claims 1, 13, and 23 are independent. At least these claims of the ’213 Patent are
 21   directed to a variety of techniques for allocating resources for guaranteed quality of
 22   service flows in the MoCA network. A true and accurate copy of the ’213 Patent is
 23   attached hereto as Exhibit O.
 24           496. The ’213 Patent is directed to patent-eligible subject matter pursuant to
 25   35 U.S.C. § 101.
 26           497. The ’213 Patent is valid and enforceable, and presumed as such,
 27   pursuant to 35 U.S.C. § 282.
 28   ///

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  1         498. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
  2   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
  3   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
  4   DIRECTV HS17) in connection with operating and providing the Accused Services.
  5         499. The Accused MoCA Instrumentalities deployed by DIRECTV to
  6   customer premises remain the property of DIRECTV while deployed.
  7         500. The Accused MoCA Instrumentalities operate while deployed in a
  8   manner controlled and intended by DIRECTV.
  9         501. As set forth in the attached non-limiting claim chart (Exhibit P), any
 10   product or system operating in a MoCA network compliant with the charted
 11   provisions of MoCA 1.1, or 2.0 necessarily infringes at least claim 1 of the ’213
 12   Patent.
 13         502. Each aspect of the functioning of the Accused MoCA Instrumentalities
 14   described in the claim chart operates while deployed to customer premises in a
 15   manner controlled and intended by DIRECTV.
 16         503. DIRECTV provides no software, support or other facility to customers
 17   to modify any aspect of the functioning described in the claim chart of the Accused
 18   MoCA Instrumentalities while deployed to customer premises.
 19         504. The Accused MoCA Instrumentalities are compliant with MoCA 1.1
 20   and/or MoCA 2.0, as described in the ’213 Patent claim chart, Exhibit P.
 21         505. DIRECTV therefore directly infringes at least claim 1 of the ’213 Patent
 22   by using the Accused MoCA Instrumentalities to provide Accused Services to
 23   customers.
 24         506. DIRECTV sells the Accused Services to its customers and subscribers
 25   for a fee. Pursuant to the sale of these services, DIRECTV uses the method recited in
 26   at least claim 1 of the ’213 Patent to provide the Accused Services to DIRECTV’s
 27   customers and subscribers through the Accused MoCA Instrumentalities. DIRECTV
 28

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  1   is therefore engaging in the infringing use of at least claim 1 of the ’213 Patent in
  2   order to generate revenue from its customers and subscribers.
  3         507. DIRECTV directly infringes at least claim 1 of the ’213 Patent when it,
  4   for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
  5   otherwise provide Accused Services.
  6         508. DIRECTV had knowledge of the ’213 Patent no later than its receipt of
  7   Entropic’s communications sent to DIRECTV on March 9, 2022.
  8         509. DIRECTV has been aware that it infringes the ’213 Patent no later than
  9   its receipt of Entropic’s communications sent to DIRECTV on March 9, 2022.
 10         510. DIRECTV has known of or has been willfully blind to the ’213 Patent
 11   since before the March 9, 2022 communications from Entropic.
 12         511. The ’213 Patent issued while or before DIRECTV was a member of
 13   MoCA.
 14         512. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 15   contributions related to MoCA technology, DIRECTV had knowledge of the ’213
 16   Patent before March 9, 2022 or was willfully blind to its existence.
 17         513. DIRECTV has been aware of its infringement of the ’213 Patent no later
 18   than February 17, 2023 when Entropic sent DIRECTV claim charts detailing the
 19   infringement of the ’213 Patent by MoCA technology, which is deployed by
 20   DIRECTV. The claim charts DIRECTV received approximately three months before
 21   the filing of this Complaint show that the claims of the ’213 Patent are essential to
 22   practicing at least MoCA standards versions 1.1, and/or 2.0.
 23         514. The claims of the ’213 Patent are essential to practicing at least MoCA
 24   standards versions 1.1, and/or 2.0.
 25         515. DIRECTV knew, or was willfully blind to the fact that the technology
 26   of the ’213 Patent directly relates to networking over coaxial cable, including MoCA,
 27   at least as early as DIRECTV became aware of the existence of the ’213 Patent.
 28   Because of its familiarity with, and access to, the MoCA standards, DIRECTV knew,

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  1   or was willfully blind to the fact, that use (by DIRECTV or its customers) of
  2   instrumentalities compliant with MoCA 1.1, and/or 2.0 to deliver DIRECTV services
  3   would necessarily infringe one or more claims of the ’213 Patent.
  4            516. Since learning of the ’213 Patent and its infringing activities, DIRECTV
  5   has failed to cease its infringing activities.
  6            517. DIRECTV’s customers and subscribers directly infringe at least claim 1
  7   of the ’213 Patent by using the Accused MoCA Instrumentalities in connection with
  8   the Accused Services provided by DIRECTV.
  9            518. DIRECTV actively induces its customers’ and subscribers’ direct
 10   infringement by providing the Accused Services and associated support.
 11            519. For example, DIRECTV actively induces infringement of at least claim
 12   1 of the ’213 Patent by providing the Accused MoCA Instrumentalities to DIRECTV
 13   customers with specific instructions and/or assistance (including installation and
 14   maintenance) regarding the instantiation of a MoCA network and the use of the
 15   Accused MoCA Instrumentalities to infringe the ’213 Patent.
 16            520. DIRECTV aids, instructs, supports, and otherwise acts with the intent
 17   to cause an end user to make and/or use the MoCA network and/or use the Accused
 18   MoCA Instrumentalities to infringe every element of at least claim 1 of the ’213
 19   Patent.
 20            521. Additionally, DIRECTV contributes to the customers’ and subscribers’
 21   direct    infringement.   DIRECTV        provides   at   least   the   Accused   MoCA
 22   Instrumentalities that create and are at least substantially all of a MoCA network to
 23   be used to infringe at least claim 1 of the ’213 Patent.
 24            522. The Accused MoCA Instrumentalities have no substantial noninfringing
 25   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
 26   the Accused Services provided by DIRECTV, the end user directly infringes at least
 27   claim 1 of the ’213 Patent. The Accused MoCA Instrumentalities are therefore
 28   especially made or especially adapted for use in an infringing manner.

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  1         523. DIRECTV’s inducement of, and contribution to, the direct infringement
  2   of at least claim 1 of the ’213 Patent has been, and is, continuous and ongoing through
  3   the acts described above in connection with DIRECTV’s provision of the Accused
  4   Services.
  5         524. DIRECTV’s infringement of the ’213 Patent is, has been, and continues
  6   to be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s
  7   rights under the patent.
  8         525. Entropic has been damaged as a result of the infringing conduct alleged
  9   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
 10   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
 11   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 12         526. Upon information and belief, there is no duty to mark any
 13   instrumentality with the ’213 Patent in accordance with 35 U.S.C. § 287(a).
 14                                        COUNT IX
 15                              (Infringement of the ’422 Patent)
 16         527. Entropic incorporates by reference each allegation of Paragraphs 1
 17   through 354.
 18         528. The ’422 Patent duly issued on October 1, 2019 from an application
 19   filed December 5, 2017, an application filed February 6, 2008, and, inter alia, a
 20   provisional application filed February 6, 2007.
 21         529. Entropic owns all substantial rights, interest, and title in and to the ’422
 22   Patent, including the sole and exclusive right to prosecute this action and enforce the
 23   ’422 Patent against infringers, and to collect damages for all relevant times.
 24         530. The ’422 Patent is generally directed to, inter alia, low-cost and high-
 25   speed management of resources within a network in order to secure the capability to
 26   distribute multimedia data (such as video/audio, games, images, generic data, and
 27   interactive services) between devices within existing on-premises coaxial cable
 28   networks. ’422 Patent, col. 3, lines 53–60. The ’422 Patent has 20 claims, of which,

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  1   claims 1, 5, 12–17 are independent. At least these claims of the ’422 Patent are
  2   directed to a variety of techniques for allocating resources for guaranteed quality of
  3   service flows in the MoCA network. A true and accurate copy of the ’422 Patent is
  4   attached hereto as Exhibit Q.
  5         531. The ’422 Patent is directed to patent-eligible subject matter pursuant to
  6   35 U.S.C. § 101.
  7         532. The ’422 Patent is valid and enforceable, and presumed as such,
  8   pursuant to 35 U.S.C. § 282.
  9         533. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
 10   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
 11   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
 12   DIRECTV HS17) in connection with operating and providing the Accused Services.
 13         534. The Accused MoCA Instrumentalities deployed by DIRECTV to
 14   customer premises remain the property of DIRECTV while deployed.
 15         535. The Accused MoCA Instrumentalities operate while deployed in a
 16   manner controlled and intended by DIRECTV.
 17         536. As set forth in the attached non-limiting claim chart (Exhibit R), any
 18   product or system operating in a MoCA network compliant with the charted
 19   provisions of MoCA 1.1, or 2.0 necessarily infringes at least claim 1 of the ’422
 20   Patent.
 21         537. Each aspect of the functioning of the Accused MoCA Instrumentalities
 22   described in the claim chart operates while deployed to customer premises in a
 23   manner controlled and intended by DIRECTV.
 24         538. DIRECTV provides no software, support or other facility to customers
 25   to modify any aspect of the functioning described in the claim chart of the Accused
 26   MoCA Instrumentalities while deployed to customer premises.
 27         539. The Accused MoCA Instrumentalities are compliant with MoCA 1.1
 28   and/or MoCA 2.0, as described in the ’422 Patent claim chart, Exhibit R.

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  1         540. DIRECTV therefore directly infringes at least claim 1 of the ’422 Patent
  2   by using the Accused MoCA Instrumentalities to provide Accused Services to
  3   customers.
  4         541. DIRECTV directly infringes at least claim 1 of the ’422 Patent when it,
  5   for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
  6   otherwise provide Accused Services.
  7         542. DIRECTV directly infringes at least claim 1 of the ’422 Patent by
  8   making, importing, selling, and/or offering for sale the Accused MoCA
  9   Instrumentalities in connection with providing the Accused Services over an
 10   on-premises coaxial cable network, which meets every element of at least claim 1 of
 11   the ’422 Patent.
 12         543. DIRECTV had knowledge of the ’422 Patent no later than its receipt of
 13   Entropic’s communications sent to DIRECTV on March 9, 2022.
 14         544. DIRECTV has been aware that it infringes the ’422 Patent no later than
 15   its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
 16         545. DIRECTV has known of or has been willfully blind to the ’422 Patent
 17   since before the March 9, 2022 communications from Entropic.
 18         546. The ’422 Patent issued while or before DIRECTV was a member of
 19   MoCA.
 20         547. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 21   contributions related to MoCA technology, DIRECTV had knowledge of the ’422
 22   Patent before March 9, 2022 or was willfully blind to its existence.
 23         548. DIRECTV has been aware of its infringement of the ’422 Patent no later
 24   than February 17, 2023 when Entropic sent DIRECTV claim charts detailing the
 25   infringement of the ’422 Patent by MoCA technology, which is deployed by
 26   DIRECTV. The claim charts DIRECTV received approximately three months before
 27   the filing of this Complaint show that the claims of the ’422 Patent are essential to
 28   practicing at least MoCA standards versions 1.1, and/or 2.0.

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  1            549. The claims of the ’422 Patent are essential to practicing at least MoCA
  2   standards versions 1.1, and/or 2.0.
  3            550. DIRECTV knew, or was willfully blind to the fact that the technology
  4   of the ’422 Patent directly relates to networking over coaxial cable, including MoCA,
  5   at least as early as DIRECTV became aware of the existence of the ’422 Patent.
  6   Because of its familiarity with, and access to, the MoCA standards, DIRECTV knew,
  7   or was willfully blind to the fact, that use (by DIRECTV or its customers) of
  8   instrumentalities compliant with MoCA 1.1, and/or 2.0 to deliver DIRECTV services
  9   would necessarily infringe one or more claims of the ’422 Patent.
 10            551. Since learning of the ’422 Patent and its infringing activities, DIRECTV
 11   has failed to cease its infringing activities.
 12            552. DIRECTV’s customers and subscribers directly infringe at least claim 1
 13   of the ’422 Patent by using the Accused MoCA Instrumentalities in connection with
 14   the Accused Services provided by DIRECTV.
 15            553. DIRECTV actively induces its customers’ and subscribers’ direct
 16   infringement by providing the Accused Services and associated support.
 17            554. For example, DIRECTV actively induces infringement of at least claim
 18   1 of the ’422 Patent by providing the Accused MoCA Instrumentalities to DIRECTV
 19   customers with specific instructions and/or assistance (including installation and
 20   maintenance) regarding the instantiation of a MoCA network and the use of the
 21   Accused MoCA Instrumentalities to infringe the ’422 Patent.
 22            555. DIRECTV aids, instructs, supports, and otherwise acts with the intent
 23   to cause an end user to make and/or use the MoCA network and/or use the Accused
 24   MoCA Instrumentalities to infringe every element of at least claim 1 of the ’422
 25   Patent.
 26            556. Additionally, DIRECTV contributes to the customers’ and subscribers’
 27   direct    infringement.   DIRECTV        provides   at   least   the   Accused   MoCA
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  1   Instrumentalities that create and are at least substantially all of a MoCA network to
  2   be used to infringe at least claim 1 of the ’422 Patent.
  3         557. The Accused MoCA Instrumentalities have no substantial noninfringing
  4   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  5   the Accused Services provided by DIRECTV, the end user directly infringes at least
  6   claim 1 of the ’422 Patent. The Accused MoCA Instrumentalities are therefore
  7   especially made or especially adapted for use in an infringing manner.
  8         558. DIRECTV’s inducement of, and contribution to, the direct infringement
  9   of at least claim 1 of the ’422 Patent has been, and is, continuous and ongoing through
 10   the acts described above in connection with DIRECTV’s provision of the Accused
 11   Services.
 12         559. DIRECTV’s infringement of the ’422 Patent is, has been, and continues
 13   to be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s
 14   rights under the patent.
 15         560. Entropic has been damaged as a result of the infringing conduct alleged
 16   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
 17   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
 18   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 19         561. Upon information and belief, there is no duty to mark any
 20   instrumentality with the ’422 Patent in accordance with 35 U.S.C. § 287.
 21                                         COUNT X
 22                              (Infringement of the ’910 Patent) 6
 23         562. Entropic incorporates by reference each allegation of Paragraphs 1
 24   through 389.
 25   ///
 26
 27
      6
       The parties are discussing how they intend to proceed with respect to the ’910
      Patent. Entropic has included these allegations from the Original Complaint
 28   pending the result of those discussions.
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  1         563. The ’910 Patent duly issued on July 24, 2012 from an application filed
  2   May 9, 2008, and a provisional application filed May 9, 2007.
  3         564. Entropic owns all substantial rights, interest, and title in and to the ’910
  4   Patent, including the sole and exclusive right to prosecute this action and enforce the
  5   ’910 Patent against infringers, and to collect damages for all relevant times.
  6         565. The ’910 Patent is the Packet Aggregation Patent, and it addresses the
  7   problem in the prior art that “overhead admission is associated with each packet
  8   transmitted through the network,” and such information, “including identifiers,
  9   source and destination addresses, error control fields, etc., is added to the user data
 10   and reduces the availability of network bandwidth for user data.” ’910 Patent, col. 1,
 11   lines 32-37. To address this problem the ’910 Patent is generally directed to, inter
 12   alia, transmitting data over a network, where the transmitting device aggregates
 13   packets that are directed to a common destination node. This reduces the transmitted
 14   packet overhead of the network by eliminating interframe gaps, preamble
 15   information, and extra headers. ’910 Patent, col. 1, line 66 – col. 2, line 3. The ’910
 16   Patent has three claims, all of which are independent. At least these claims of the
 17   ’910 Patent are directed to a variety of techniques for aggregating packet data units
 18   in the MoCA network. A true and accurate copy of the ’910 Patent is attached hereto
 19   as Exhibit S.
 20         566. The ’910 Patent is directed to patent-eligible subject matter pursuant to
 21   35 U.S.C. § 101.
 22         567. The ’910 Patent is valid and enforceable, and presumed as such,
 23   pursuant to 35 U.S.C. § 282.
 24         568. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
 25   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
 26   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
 27   DIRECTV HS17) in connection with operating and providing the Accused Services.
 28   ///

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  1         569. The Accused MoCA Instrumentalities deployed by DIRECTV to
  2   customer premises remain the property of DIRECTV while deployed.
  3         570. The Accused MoCA Instrumentalities operate while deployed in a
  4   manner controlled and intended by DIRECTV.
  5         571. As set forth in the attached non-limiting claim chart (Exhibit T), any
  6   product or system operating in a MoCA network compliant with the charted
  7   provisions of MoCA 1.1, or 2.0 necessarily infringes at least claim 3 of the ’910
  8   Patent.
  9         572. Each aspect of the functioning of the Accused MoCA Instrumentalities
 10   described in the claim chart operates while deployed to customer premises in a
 11   manner controlled and intended by DIRECTV.
 12         573. DIRECTV provides no software, support or other facility to customers
 13   to modify any aspect of the functioning described in the claim chart of the Accused
 14   MoCA Instrumentalities while deployed to customer premises.
 15         574. The Accused MoCA Instrumentalities are compliant with MoCA 1.1.,
 16   and/or MoCA 2.0, as described in the ’910 Patent claim chart, Exhibit T.
 17         575. DIRECTV therefore directly infringes at least claim 3 of the ’910 Patent
 18   by using the Accused MoCA Instrumentalities to provide Accused Services to
 19   customers.
 20         576. DIRECTV directly infringes at least claim 3 of the ’910 Patent when it,
 21   for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
 22   otherwise provide Accused Services.
 23         577. DIRECTV directly infringes at least claim 3 of the ’910 Patent by
 24   making, importing, selling, and/or offering for sale the Accused MoCA
 25   Instrumentalities, which meet every element of at least claim 3 of the ’910 Patent, in
 26   connection with providing the Accused Services over an on-premises coaxial cable
 27   network.
 28   ///

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  1          578. DIRECTV had knowledge of the ’910 Patent no later than its receipt of
  2   Entropic’s communications sent to DIRECTV on March 9, 2022.
  3          579. DIRECTV has been aware that it infringes the ’910 Patent no later than
  4   its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
  5          580. DIRECTV has known of or has been willfully blind to the ’910 Patent
  6   since before the March 9, 2022 communications from Entropic.
  7          581. The ’910 Patent issued while or before DIRECTV was a member of
  8   MoCA.
  9          582. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
 10   contributions related to MoCA technology, DIRECTV had knowledge of the ’910
 11   Patent before March 9, 2022 or was willfully blind to its existence.
 12          583. DIRECTV has been aware of its infringement of the ’910 Patent no later
 13   than February 17, 2023 when Entropic sent DIRECTV claim charts detailing the
 14   infringement of the ’910 Patent by MoCA technology, which is deployed by
 15   DIRECTV. The claim charts DIRECTV received approximately three months before
 16   the filing of this Complaint show that the claims of the ’910 Patent are essential to
 17   practicing at least MoCA standards versions 1.1, and/or 2.0.
 18          584. The claims of the ’910 Patent are essential to practicing at least MoCA
 19   standards versions 1.1, and/or 2.0.
 20          585. DIRECTV knew, or was willfully blind to the fact that the technology
 21   of the ’910 Patent directly relates to networking over coaxial cable, including MoCA,
 22   at least as early as DIRECTV became aware of the existence of the ’910 Patent.
 23   Because of its familiarity with, and access to, the MoCA standards, DIRECTV knew,
 24   or was willfully blind to the fact, that use (by DIRECTV or its customers) of
 25   instrumentalities compliant with MoCA 1.1, and/or 2.0 to deliver DIRECTV services
 26   would necessarily infringe one or more claims of the ’910 Patent.
 27          586. Since learning of the ’910 Patent and its infringing activities, DIRECTV
 28   has failed to cease its infringing activities.

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  1         587. DIRECTV’s customers and subscribers directly infringe at least claim 3
  2   of the ’910 Patent by using the Accused MoCA Instrumentalities in connection with
  3   the Accused Services provided by DIRECTV.
  4         588. DIRECTV actively induces its customers’ and subscribers’ direct
  5   infringement by providing the Accused Services through the Accused MoCA
  6   Instrumentalities, and associated support.
  7         589. For example, DIRECTV actively induces infringement of at least claim
  8   3 of the ’910 Patent by providing the Accused MoCA Instrumentalities to DIRECTV
  9   customers with specific instructions and/or assistance (including installation and
 10   maintenance) regarding the instantiation of a MoCA network and the use of the
 11   Accused MoCA Instrumentalities to infringe the ’910 Patent.
 12         590. DIRECTV aids, instructs, supports, and otherwise acts with the intent
 13   to cause an end user to make and/or use the MoCA network and/or use the Accused
 14   MoCA Instrumentalities to infringe every element of at least claim 3 of the ’910
 15   Patent.
 16         591. Additionally, DIRECTV contributes to the customers’ and subscribers’
 17   direct infringement. DIRECTV provides, inter alia, the Accused MoCA
 18   Instrumentalities designed and configured to create a MoCA network and operate as
 19   nodes in the network, the use of which infringes at least claim 3 of the ’910 Patent.
 20         592. The Accused MoCA Instrumentalities have no substantial noninfringing
 21   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
 22   the Accused Services provided by DIRECTV, the end user directly infringes at least
 23   claim 3 of the ’910 Patent. The Accused MoCA Instrumentalities are therefore
 24   especially made or especially adapted for use in an infringing manner.
 25         593. DIRECTV’s inducement of, and contribution to, the direct infringement
 26   of at least claim 3 of the ’910 Patent has been, and is, continuous and ongoing through
 27   the acts described above in connection with DIRECTV’s provision of the Accused
 28   Services.

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  1            594. DIRECTV’s infringement of the ’910 Patent is, has been, and continues
  2   to be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s
  3   rights under the patent.
  4            595. Entropic has been damaged as a result of the infringing conduct alleged
  5   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
  6   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
  7   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
  8            596. Entropic is aware of no obligation to mark any instrumentality with the
  9   ’910 Patent in accordance with 35 U.S.C. § 287.
 10                                         COUNT XI
 11                              (Infringement of the ’0,566 Patent)
 12            597. Entropic incorporates by reference each allegation of Paragraphs 1
 13   through 424.
 14            598. The ’0,566 Patent duly issued on November 27, 2012 from an
 15   application filed October 15, 2009, and, inter alia, a provisional application filed
 16   October 16, 2008.
 17            599. Entropic owns all substantial rights, interest, and title in and to the
 18   ’0,566 Patent, including the sole and exclusive right to prosecute this action and
 19   enforce the ’0,566 Patent against infringers, and to collect damages for all relevant
 20   times.
 21            600. The ’0,566 Patent is generally directed to, inter alia, “allow[ing]
 22   multiple transmitting network devices to transmit under an OFDMA mode to a
 23   receiving network device.” ’0,566 Patent, Abstract. The ’0,566 Patent has 18 claims,
 24   of which claims 1, 7, 13, and 16 are independent. At least these claims of the ’0,566
 25   Patent are directed to a variety of techniques for assigning communication resources
 26   to one or more nodes in the MoCA network. A true and accurate copy of the ’0,566
 27   Patent is attached hereto as Exhibit U.
 28   ///

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   1         601. The ’0,566 Patent is directed to patent-eligible subject matter pursuant
   2   to 35 U.S.C. § 101.
   3         602. The ’0,566 Patent is valid and enforceable, and presumed as such,
   4   pursuant to 35 U.S.C. § 282.
   5         603. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
   6   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
   7   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
   8   DIRECTV HS17) in connection with operating and providing the Accused Services.
   9         604. The Accused MoCA Instrumentalities deployed by DIRECTV to
  10   customer premises remain the property of DIRECTV while deployed.
  11         605. The Accused MoCA Instrumentalities operate while deployed in a
  12   manner controlled and intended by DIRECTV.
  13         606. As set forth in the attached non-limiting claim chart (Exhibit V), any
  14   product or system operating in a MoCA network compliant with the charted
  15   provisions of MoCA 2.0 necessarily infringes at least claim 1 of the ’0,566 Patent.
  16         607. Each aspect of the functioning of the Accused MoCA Instrumentalities
  17   described in the claim chart operates while deployed to customer premises in a
  18   manner controlled and intended by DIRECTV.
  19         608. DIRECTV provides no software, support or other facility to customers
  20   to modify any aspect of the functioning described in the claim chart of the Accused
  21   MoCA Instrumentalities while deployed to customer premises.
  22         609. The Accused MoCA Instrumentalities are compliant with MoCA 2.0, as
  23   described in the ’0,566 Patent claim chart, Exhibit V.
  24         610. DIRECTV therefore directly infringes at least claim 1 of the ’0,566
  25   Patent by using the Accused MoCA Instrumentalities to provide Accused Services to
  26   customers.
  27         611. DIRECTV sells the Accused Services to its customers and subscribers
  28   for a fee. Pursuant to the sale of these services, DIRECTV uses the method recited in

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   1   at least claim 1 of the ’0,566 Patent to provide the Accused Services to DIRECTV’s
   2   customers and subscribers through the Accused MoCA Instrumentalities. DIRECTV
   3   is therefore engaging in the infringing use of at least claim 1 of the ’0,566 Patent in
   4   order to generate revenue from its customers and subscribers.
   5         612. DIRECTV directly infringes at least claim 1 of the ’0,566 Patent when
   6   it, for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
   7   otherwise provide Accused Services.
   8         613. DIRECTV had knowledge of the ’0,566 Patent no later than its receipt
   9   of Entropic’s communications sent to DIRECTV on March 9, 2022.
  10         614. DIRECTV has been aware that it infringes the ’0,566 Patent no later
  11   than its receipt of Entropic’s communication sent to DIRECTV on March 9, 2022.
  12         615. DIRECTV has known of or has been willfully blind to the ’0,566 Patent
  13   since before the March 9, 2022 communications from Entropic.
  14         616. The ’0,566 Patent issued while or before DIRECTV was a member of
  15   MoCA.
  16         617. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
  17   contributions related to MoCA technology, DIRECTV had knowledge of the ’0,566
  18   Patent before March 9, 2022 or was willfully blind to its existence.
  19         618. DIRECTV has been aware of its infringement of the ’0,566 Patent no
  20   later than February 17, 2023 when Entropic sent DIRECTV claim charts detailing
  21   the infringement of the ’0,566 Patent by MoCA technology, which is deployed by
  22   DIRECTV. The claim charts DIRECTV received approximately three months before
  23   the filing of this Complaint show that the claims of the ’0,566 Patent are essential to
  24   practicing at least MoCA standards versions 1.1, and/or 2.0.
  25         619. The claims of the ’0,566 Patent are essential to practicing at least MoCA
  26   standards versions 1.1, and/or 2.0.
  27         620. DIRECTV knew, or was willfully blind to the fact that the technology
  28   of the ’0,566 Patent directly relates to networking over coaxial cable, including

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   1   MoCA, at least as early as DIRECTV became aware of the existence of the ’0,566
   2   Patent. Because of its familiarity with, and access to, the MoCA standards,
   3   DIRECTV knew, or was willfully blind to the fact, that use (by DIRECTV or its
   4   customers) of instrumentalities compliant with MoCA 1.1, and/or 2.0 to deliver
   5   DIRECTV services would necessarily infringe one or more claims of the ’0,566
   6   Patent.
   7            621. Since learning of the ’0,566 Patent and its infringing activities,
   8   DIRECTV has failed to cease its infringing activities.
   9            622. DIRECTV’s customers and subscribers directly infringe at least claim 1
  10   of the ’0,566 Patent by using the Accused MoCA Instrumentalities in connection
  11   with the Accused Services provided by DIRECTV.
  12            623. DIRECTV actively induces its customers’ and subscribers’ direct
  13   infringement by providing the Accused Services and associated support.
  14            624. For example, DIRECTV actively induces infringement of at least claim
  15   1 of the ’0,566 Patent by providing the Accused MoCA Instrumentalities to
  16   DIRECTV customers with specific instructions and/or assistance (including
  17   installation and maintenance) regarding the instantiation of a MoCA network and the
  18   use of the Accused MoCA Instrumentalities to infringe the ’0,566 Patent.
  19            625. DIRECTV aids, instructs, supports, and otherwise acts with the intent
  20   to cause an end user to make and/or use the MoCA network and/or use the Accused
  21   MoCA Instrumentalities to infringe every element of at least claim 1 of the ’0,566
  22   Patent.
  23            626. Additionally, DIRECTV contributes to the customers’ and subscribers’
  24   direct    infringement.   DIRECTV      provides    at   least   the   Accused   MoCA
  25   Instrumentalities that create and are at least substantially all of a MoCA network to
  26   be used to infringe at least claim 1 of the ’0,566 Patent.
  27            627. The Accused MoCA Instrumentalities have no substantial noninfringing
  28   uses. When an end user uses the Accused MoCA Instrumentalities in connection with

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   1   the Accused Services provided by DIRECTV, the end user directly infringes at least
   2   claim 1 of the ’0,566 Patent. The Accused MoCA Instrumentalities are therefore
   3   especially made or especially adapted for use in an infringing manner.
   4           628. DIRECTV’s inducement of, and contribution to, the direct infringement
   5   of at least claim 1 of the ’0,566 Patent has been, and is, continuous and ongoing
   6   through the acts described above in connection with DIRECTV’s provision of the
   7   Accused Services.
   8           629. DIRECTV’s infringement of the ’0,566 Patent is, has been, and
   9   continues to be willful, intentional, deliberate, and/or in conscious disregard for
  10   Entropic’s rights under the patent.
  11           630. Entropic has been damaged as a result of the infringing conduct alleged
  12   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
  13   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
  14   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
  15           631. Upon information and belief, there is no duty to mark any
  16   instrumentality with the ’0,566 Patent in accordance with 35 U.S.C. § 287(a).
  17                                         COUNT XII
  18                             (Infringement of the ’681 Patent)
  19           632. Entropic incorporates by reference each allegation of Paragraphs 1
  20   through 459.
  21           633. The ’681 Patent duly issued on January 29, 2013 from an application
  22   filed October 15, 2009 and, inter alia, a provisional application filed October 16,
  23   2008.
  24           634. Entropic owns all substantial rights, interest, and title in and to the ’681
  25   Patent, including the sole and exclusive right to prosecute this action and enforce the
  26   ’681 Patent against infringers, and to collect damages for all relevant times.
  27           635. The ’681 Patent is generally directed to, inter alia, improving local
  28   clock time synchronization between a plurality of nodes in a communication

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   1   network. ’681 Patent, Abstract. The ’681 Patent has 40 claims, of which claims 1,
   2   11, 21, and 31 are independent. At least these claims of the ’681 Patent are directed
   3   to a variety of techniques for clock synchronization for nodes in the MoCA network.
   4   A true and accurate copy of the ’681 Patent is attached hereto as Exhibit W.
   5         636. The ’681 Patent is directed to patent-eligible subject matter pursuant to
   6   35 U.S.C. § 101.
   7         637. The ’681 Patent is valid and enforceable, and presumed as such,
   8   pursuant to 35 U.S.C. § 282.
   9         638. DIRECTV deploys one or more of the Accused MoCA Instrumentalities
  10   (e.g., DIRECTV C31, DIRECTV C41, DIRECTV C51, DIRECTV C61, DIRECTV
  11   C61K, DIRECTV HR24, DIRECTV HR34, DIRECTV HR44, DIRECTV HR54, and
  12   DIRECTV HS17) in connection with operating and providing the Accused Services.
  13         639. The Accused MoCA Instrumentalities deployed by DIRECTV to
  14   customer premises remain the property of DIRECTV while deployed.
  15         640. The Accused MoCA Instrumentalities operate while deployed in a
  16   manner controlled and intended by DIRECTV.
  17         641. As set forth in the attached non-limiting claim chart (Exhibit X), any
  18   product or system operating in a MoCA network compliant with the charted
  19   provisions of MoCA 2.0 necessarily infringes at least claim 1 of the ’681 Patent.
  20         642. Each aspect of the functioning of the Accused MoCA Instrumentalities
  21   described in the claim chart operates while deployed to customer premises in a
  22   manner controlled and intended by DIRECTV.
  23         643. DIRECTV provides no software, support or other facility to customers
  24   to modify any aspect of the functioning described in the claim chart of the Accused
  25   MoCA Instrumentalities while deployed to customer premises.
  26         644. The Accused MoCA Instrumentalities are compliant with MoCA 2.0
  27   described in the ’681 Patent claim chart, Exhibit X.
  28   ///

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   1         645. DIRECTV therefore directly infringes at least claim 1 of the ’681 Patent
   2   by using the Accused MoCA Instrumentalities to provide Accused Services to
   3   customers.
   4         646. DIRECTV sells the Accused Services to its customers and subscribers
   5   for a fee. Pursuant to the sale of these services, DIRECTV uses the method recited in
   6   at least claim 1 of the ’681 Patent to provide the Accused Services to DIRECTV’s
   7   customers and subscribers through the Accused MoCA Instrumentalities. DIRECTV
   8   is therefore engaging in the infringing use of at least claim 1 of the ’681 Patent in
   9   order to generate revenue from its customers and subscribers.
  10         647. DIRECTV directly infringes at least claim 1 of the ’681 Patent when it,
  11   for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
  12   otherwise provide Accused Services.
  13         648. DIRECTV had knowledge of the ’681 Patent no later than its receipt of
  14   Entropic’s communications sent to DIRECTV on August 9, 2022.
  15         649. DIRECTV has been aware that it infringes the ’681 Patent no later than
  16   its receipt of Entropic’s communication sent to DIRECTV on August 9, 2022.
  17         650. DIRECTV has known of or has been willfully blind to the ’681 Patent
  18   since before the August 9, 2022 communications from Entropic.
  19         651. The ’681 Patent issued while or before DIRECTV was a member of
  20   MoCA.
  21         652. Because of DIRECTV’s knowledge of Entropic Inc.’s work and
  22   contributions related to MoCA technology, DIRECTV had knowledge of the ’681
  23   Patent before August 9, 2022 or was willfully blind to its existence.
  24         653. DIRECTV has been aware of its infringement of the ’681 Patent no later
  25   than February 17, 2023 when Entropic sent DIRECTV claim charts detailing the
  26   infringement of the ’681 Patent by MoCA technology, which is deployed by
  27   DIRECTV. The claim charts DIRECTV received approximately three months before
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   1   the filing of this Complaint show that the claims of the ’681 Patent are essential to
   2   practicing at least MoCA standards versions 1.1, and/or 2.0.
   3          654. The claims of the ’681 Patent are essential to practicing at least MoCA
   4   standards versions 1.1, and/or 2.0.
   5          655. DIRECTV knew, or was willfully blind to the fact that the technology
   6   of the ’681 Patent directly relates to networking over coaxial cable, including MoCA,
   7   at least as early as DIRECTV became aware of the existence of the ’681 Patent.
   8   Because of its familiarity with, and access to, the MoCA standards, DIRECTV knew,
   9   or was willfully blind to the fact, that use (by DIRECTV or its customers) of
  10   instrumentalities compliant with MoCA 1.1, and/or 2.0 to deliver DIRECTV services
  11   would necessarily infringe one or more claims of the ’681 Patent.
  12          656. Since learning of the ’681 Patent and its infringing activities, DIRECTV
  13   has failed to cease its infringing activities.
  14          657. DIRECTV’s customers and subscribers directly infringe at least claim 1
  15   of the ’681 Patent by using the Accused MoCA Instrumentalities in connection with
  16   the Accused Services provided by DIRECTV.
  17          658. DIRECTV actively induces its customers’ and subscribers’ direct
  18   infringement by providing the Accused Services and associated support.
  19          659. For example, DIRECTV actively induces infringement of at least claim
  20   1 of the ’681 Patent by providing the Accused MoCA Instrumentalities to DIRECTV
  21   customers with specific instructions and/or assistance (including installation and
  22   maintenance) regarding the instantiation of a MoCA network and the use of the
  23   Accused MoCA Instrumentalities to infringe the ’681 Patent.
  24          660. DIRECTV aids, instructs, supports, and otherwise acts with the intent
  25   to cause an end user to make and/or use the MoCA network and/or use the Accused
  26   MoCA Instrumentalities to infringe every element of at least claim 1 of the ’681
  27   Patent.
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   1            661. Additionally, DIRECTV contributes to the customers’ and subscribers’
   2   direct    infringement.    DIRECTV        provides    at   least   the   Accused       MoCA
   3   Instrumentalities that create and are at least substantially all of a MoCA network to
   4   be used to infringe at least claim 1 of the ’681 Patent.
   5            662. The Accused MoCA Instrumentalities have no substantial noninfringing
   6   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
   7   the Accused Services provided by DIRECTV, the end user directly infringes at least
   8   claim 1 of the ’681 Patent. The Accused MoCA Instrumentalities are therefore
   9   especially made or especially adapted for use in an infringing manner.
  10            663. DIRECTV’s inducement of, and contribution to, the direct infringement
  11   of at least claim 1 of the ’681 Patent has been, and is, continuous and ongoing through
  12   the acts described above in connection with DIRECTV’s provision of the Accused
  13   Services.
  14            664. DIRECTV’s infringement of the ’681 Patent is, has been, and continues
  15   to be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s
  16   rights under the patent.
  17            665. Entropic has been damaged as a result of the infringing conduct alleged
  18   above. DIRECTV is liable to Entropic in an amount that compensates Entropic for
  19   DIRECTV’s infringement, which by law cannot be less than a reasonable royalty,
  20   together with interest and costs as fixed by this Court under 35 U.S.C. § 284.
  21            666. Upon information and belief, there is no duty to mark any
  22   instrumentality with the ’681 Patent in accordance with 35 U.S.C. § 287(a).
  23                                       JURY DEMAND
  24            Entropic hereby requests a trial by jury on all issues so triable by right.
  25                                   PRAYER FOR RELIEF
  26   WHEREFORE, Entropic requests that:
  27            A.    The Court find that DIRECTV has directly infringed the Patents-in-Suit
  28   and hold DIRECTV liable for such infringement;

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   1         B.     The Court award damages pursuant to 35 U.S.C. § 284 adequate to
   2   compensate Entropic for DIRECTV’s past and future infringement of the Patents-in-
   3   Suit, including both pre- and post-judgment interest and costs as fixed by the Court;
   4         C.     The Court increase any award to Entropic by a judicially appropriate
   5   amount;
   6         D.     The Court declare that this is an exceptional case entitling Entropic to
   7   its reasonable attorneys’ fees under 35 U.S.C. § 285; and
   8         E.     The Court award such other relief as the Court may deem just and
   9   proper.
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  12
  13   Dated: October 18, 2023                 Respectfully submitted,

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